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TAB C
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jonpues SSO8UISN JO apoy ¥
yOoqpuey aefojdwy

‘Ouy ‘JUBWUIE } Je jug Bulyysasaa DHOAA

sou) juBWNe LOI Sujtiseyy ‘pyory

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€L *ouy “uewueya}Uy Busou, PAA

“SSEJEY NJMeIUR pasayunosua Sey IMM 12 asye suoauios @Aa1I9q NOK jf

‘uoHeNys ayy
aye6ysaaut Ajajasosip IWM JusUupedsg seoinosey ueWN}Y euL

“S8OINOSaY UBLUNLY jo IUSP|SBlq BIA ayy) 0} apo ayy podas
Udy) ISNW “juawaBeuew JO SJSQWIAW Jao J0 ‘losiuadng aut

‘WuawaBevew
JO Jequiaiu Jayjo Aue Jo ‘saoinosey UPLUNH JO juspisaig

S5IA 84} 40 “Josuadns snoX .0} WeapPloul ay) Wodas Ajayeipawuy .

. :sdays Buymoyjo}
BU] 842) Pynoys Nod ‘syuaaa payeyas JO paiosuods 4A ye Jo sasiwasd
AMM 40 Jaujaym ‘SAQA, UM pajyeioosse asimiayjo auokue JO aakojdua

“AMM Aue wo juaussevey jnjmequn Paiayunooua aaey Nod saayag nod i

“JHBWISSBIEY INyMeEyUN jo sujej9 Buy so Buiodes

“Buryono; jeajsAyd ajeyidosddeu

“UONE\UAHO jeNnxas 40 aDRs ‘xas Bulpnjouy ‘siseq payoayoid Ayebay

"2 O} Pajejas JONPuOD JeyUNs Jo Sainjaid 40. sjoafqo ‘sjoquiAs

BAISUSJJO J84)O JO. aansabBbns ‘Atjenxas JO sfeydsip
‘SHO ‘saxo] ‘suoNsodoid ‘seainjsab ‘syiewas Buipeifap
40 Buninsuy yBnosy WUBLUUONAUE YOM aaisuayjo ue Buneels
Jo ‘gof say/siy uoyad 0} Ayiiqe suosuad e yw Buyepey  .

UOHE UU NOW ‘apnjsuy Janpuos Payqyod jo sajdwexy

‘JPuUOSIed $}1 0) UoUUWOD s.4AAy Yim jua}sisuooU!
AyOYyM ae yey) suoNpuod Buryiom sayealo Wauisseley “siseq payoejo.d 4
(26a) sayjo Aue so uBio Jeuojeu ‘uoByos ‘abe “UONB}WAHO jeEnxas ‘soBs ‘vas
uO pesiwaid si USUUSseleYy JEU) Jayjaqm jusUIsseleY WO} 884) S! yeu) Jue
~UOJAUA 10M e@ Bulplaoid 0} payeaipap si SMM “uaunWWEd si4) Jo ped sy

“SeNnss| juBWUAO|diua Ye JO JuSW

“e01] IEDIUI9 PUB HE} SapyAaid pue juaWUOsJAUa YOM ueseajd e sapjaoid

‘OMWUES) PUB LOeladood. sabeunoaua ‘saahojdiua sy |e 40 juswdojaaap
BU) SIOYYNY Jey) JUBULOJAUS Jom e Bujueyuew O} PayUUOS st SAAAA

. “Buiuljed) pue
uonesuadtuod

*ouy *“MawujepeIUy Bulsduyy Buoy’ -

adeid ‘Buy ‘oy “Pauly young ‘Buipnjou quawAofdwa jo SUOHIPUOD
PUB SWW9} je ©) soydde Adyod siyy “sa 38} JO saoiyjo sueyueLU yor
ul Ayje9079 yoea UL uaLuAC|dua Ly UOPeUILUWSSIP Buniqnoid SMB] [29077
PUB 8}21S alqeoiidde yy Saydwu0. SAAAA ‘UOnIPpe ul “Mey le1apay aiqeo
dde UUM @ouepsoooe uy UBJa}aA Pa/Qesip jeioads to ela-weujalA e@ se
SNe}s Jo ‘AW qesip ‘ujBuo Jeuo}eu ‘snje}s jee. ‘abe ‘xas ‘uoIbya1 ‘paasa
40|09 ‘ade! 0) preBas NOU JusUAO/ die JO, S\uedidde pue saakojduis
“We 0} Ayunyoddo yuawAg die yenb

 

INS WSSVEVIFNOW ONW INS WAOTIWS ALINALUOGSS WHOS

"yooqouely SIU] U} Pauleyuos suoisiaold AuB}UOD Aue apas

Palyioeds Aue 10} quawAg|dwa' Jo} nod WM Juawaasbe Aue oj) tajua 0}
Awoujne Aue Sey ‘1901jO pazoujne ue UBY) JayjO 'AUedwod dy) jo dan
~B\Uasaidas Jo “osiadns ‘JaBeuew ou JEU} Poo}sza pun aq osie PINoYs
"BDU 10'asNed jnoyWM Jo UNM ‘uaseas A
INOA Byeujuua} Aew Auedwosg 3) JO Nod
Ayenynww aq qm sn UM diysuoryejas wewAdojdwia Inok yer} padoy s}
VW SIUAA “UaWUAOIdWWS Jo joRNUOD e ‘YW S{40U ‘se panjjsuos 8q JOU Pinoys
YOoqpueH siy) yeu) pue}siapun PINOUS NOK 'QAAAA Jo sehoidwa ue sy

Ue JO} ‘Bua Aue je juaWAodwa

TUM LY SNAWAOTd Wa

‘Bujpes 4episu/ sujeBe voniqnyotg pue “JOALEAA PUB aSealaY
Ajsadosg IEMSaHa)U; Juawaariy UOHeYOOS-uON/AEnUAapIu0D
juawaatby yonpuoy #9 8POD pue jsataju jo I9JUOD capnjauy sajdujexsy
*S$8j}}Od snopiea PuesapuN pue peas BABY NOA Jey) suo juawaBbpa
“|MOuxde jBuoHppe uBIs 0} pasinbas 8q IM Nod ‘saseo Aueu uy Pure.
‘BAISN{2U} {Je 9q 0} JUeaUI 10U B42 YOO sity ut sajotjod aur *

eusosuy BulmMojjo; atj)
YUM saafodua 40 jo ye apjaosd o} sn payse sey juauiedap jeBaj uno

asSawoar

ch.

@ 8plAold 0} AMM JO Aoyod ayy st

Jauye ‘ua)-Buo] pue Buipiemas |

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Cho, _ : “Duy WWOWUFE LATER Buinsas, ppoy

“Mey Aq pasinbas
SSajUN ‘JeluapyuCD “jday eq iM @4NsOjDsIp ‘paysanbas Ajyeoy
~jloeds yj! ‘pues sao snosoy uewny Aq patojiuour aq jim IEWEdIOA siyy
“6B9E-£66-228-1 Buyyes Aq apew aq osye Aew SUO]JBJOIA O's yoday

‘Aj@1e1pauuy paynou aq Pinoys juawyedag sueyy (e607 ay) ‘Maj Jo

/ UOREIO|A B Ul INS! PINOd JO sayNyysuOd LO!E]OIA AoWod Yons Aue y ‘eins

-O[98|P ay) Jo yOafqns eB jou S| OYM AUedWwog ay] Jo JadI}j0 a}eudoidde
ue Ayjou pinoys ‘saoge (i): asneso 0} quensind odes @ Bulaisoas Jota
-tadns Auy ‘saS0jO8Ip Aq pajsenbas AyjwAUoue Jo WonIpuos Aue 0} }98/fqns
‘(@aWWOS ay) so siaquiaW yusLND 10} Yoday sjapjoyyoo)s jenuuy
888) 93))LULUOD PN s AuedWCD @Y) 0) {A)) 40 NyWpny jeua;u] Jo 10}98.1Q

S,AuBdWOD ayy Oo} (1) ‘Auedwog BY} 10 (s)iea1yo ue 0} (i) osiuedns.

WeadIPUl JO JOBNp s eadojdiwa ayj 0} () ape aq Aew sualeola Jo suoday

‘Aueduiog 94) 0} jnyesn ssaj aq
Agu 820j0184] pue 'AyaA 0} YINDIHIP alow ua}jo ale syodad snowAuoue
JEU) PUILY uj 429Q aseajd ‘ianaMoY ‘“UeSssadau }! ‘AjsnowAuoue apew aq
Aew syoday ‘sanss} ay) pue}siapun oO} jnjdjay | se Paleyap se nq ‘asia
“UOd ple 129/9 aq pynoYs Kay) ‘}eJ0 JO uanum aq Aew suoday ‘spodal
Yons axe 0) you Aoyod Auedwog jo uonejoln eB Si jt pue ‘payodal
8q ysNlu saoyod sayjo s Auediwog au) jo Aue so MB] JO SsuaHejOIA Auy

/ “UuaWwHedag sueyy je6e7 au) ‘Asessaoau i
JO SIOSUSGNS Nay) LOI) UOeBOyWELO Bupjaas yo Ayyqisuodsas ayy aaey

seehojdwa qnop- uj vay “uONeUIUa] Jo} spunosB 8q IIIM SUOHEON

“me} Aq painbes you Jo setnaym ‘sarod Auedwog je pue smej je ya
Ajdwoo jsnw sehojduia yoea ‘IMM Ulm juawAojdiwa jo uoHipu0d e sy

 

ADINOd ANVdWOD QNV SMYI HLIM 2ONVI1d WOd

“UONBUUOJLY JEY) JO INSO|OSIP peaids-apIM S AAA
Buymoyjo} Aep Sujpesy jiny puoass ayy NUN ,dQNd-uoU, UONeUOjU) aL}
JOPISUOD PINOYS SAM WNOge UOHeUWWO;U YM S}eNpIAIpL “UOISSILULLOS
aBueyoxg pue sayunoas au) yy Surjy @ 10 sia pjouyooys 0} Wodas jenuue
40 Ayapenb e ‘snyoadsoid e “aseajal ssid e yBnouu) se yons oyqnd eu)
0} B/QeBAe Spe Uasg JOU sey yey} UONeWUOJUI Aue Sapnjoul UoNewO}U

“OU JuaWUjEHeIUy Bunisasy, Pony,

«OllQnd-uon, ‘TeHe}ewW pelapisuos aq pinoys AMM 19 ued ssauisng
12-4840 JO SYxDBq-jaS ‘saoueApe ay] Nog? UuoOHeWosy AUy “saninaas
SMM Ploy Jo Jas ‘Ang.o}) uojsioap S,J0}S3AU! ajqeuoseal B a@auanyuy 0} Aj
“Sl 8Q PINOM yi Jr JeLa}eLW, pawisap 8 [WM UOHeUOUY “BuIpesy Jepisul
40} a1gel! pray oq Aew pue Aoyod Aurdwid9 0) Auezju09 Bunce si aqe
“eae. Ajayqnd jou st eaayaq 0} Uosea, sey ays Jo ay Yon uONneuWIOUL
wweoWiUBIs Jo siseq ayy UO Burpesy uossad Auy “Me| [esapa4 sepun pay
“Qyold st ys soloed e “OV eusOjUL ONGQNd-uOU j2Ha}eW jo siseq au)
UO sonNdes ul Burpesy jo So)9e1d sy) 0} syajyas Bupa) Japisul, uu98) ay)

" ONIGVEL BAGISNI ISNIVOW NOMIGINOUA

“yuauedsg sacinosay

UBWUNH ay) JO. Jaquuew) Aue Y9B}U0D 0). paBesnooua aie S8Nssi Me}

vol}eJ5)Wilu! uo WOReUOjUL aJOLU Bulyaos Jo Suonsanb wm saafoidwa

_ + “PHRA 40 paujeyes saBuo] ou S! 6+] SnojAssd way) 31 Jo ‘syead alu Uy
“UUM AMM UM 6-| Ue payajdiuos you aaRy Aauy j1 W0} aL) ajajdiuas ase
ISNW padyas aie om seskoduia saun04 *6-| WiOy UOHeoyLaA: Aqsa
juawAo|dwy ayy ejajdiwos jsnu eaho|dwa mau yore ‘uonIppe uy “Uoh
-BUaLUNDOP. jeUlByO- S14} ‘Adosojyoyud 0} SMM 40} Ayunpoddo ayy JO ‘jo
Adoosojoud e yy SMM Sp)Aod se Jam se ‘sa}e}g Pawur) OY Ut YOM Oo)
Aunai6ya pue Anuapr say so sy Buyysyqerse UaneWouiNsop jeuiByO YM
SMM weseld ysnw ‘uawAojdwe Jo “ONIpUOCS eB se ‘sakojdwia mau yore

“uBio jeuoneu Jo diysuaziyo jo siseq
BUY UO ayeujUdsip Aynymejun you pM AMM pue ‘sayeig payun ayy uy

WOM 0} PIZOUINe suUaIe Jo/pue saye1g PAUP) BY} UL yLOM 0} pazUOU;NE

40 payiuiad syenpiatpur Aue SurAojdusa 0} payuiwo0s 5! 32MM ‘9R61

49 19Y JOUOD pue Uuojay UOHesBiULW ayy UM aouejdwos ul aq Oo

 

BONVMNdWOS MVT NOL VEOIW A

‘aBseyosip Buy

~PNOU! pue oO} dn ‘uayxe) aq [IM UONOe Aeuydiosip ayeyidoidde ‘paunaso0
SEY JUaWSSeiBY |njmejuN jeyy Souuajap 3MM JI 'S}9e) yueAgial jie
Buidojeaap yy juajsisuos 5! SB Jauuetu eB JeNUapyu0d puke jaasosip se ut
Hodad InOk ayeByseay jj SMM 0 juaupedaq sasinosay UBLUNY aus

“AO!Od siyy yo SUQIEYOIA

- 84 0} BAaySq NOA ‘yey POoB ur ‘Yyoiym ‘sjuapiour Bunodas soy Jo Aojtod

   

WuelusseleH-uoU siy) Bulzinn soy ysuieBe payeyejas AEM JayjoO Aue ut 10

" ‘paysiund ‘pazionuo aq seoueysiunosjo Aue JOPUA JOU HIM NOA ‘suosied

ayeudoidde ay) jo Aue Ayyou oy Jaynuiy aBesnoous ‘pinoys nod uaus

tL.

 

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6h

‘U! PSLIE}UOD, aS|MIaYIO Jo ‘paio}s ‘0} yUas uoneuuosuy Aue anayj1 J0/pue
JOWUOW O07 1YGy aly saniesas Sy ‘Aoyod siuy yum Soueydurdo ainsua op

‘Ad\Og BBeSp) swuaysg
SUONDSIA SAA SIU) 0} }D9fqns payuesB 8] pue suoyeByqo pue
Sayiqisuodsas ‘Ureya9 sasodut Swa}sks asaly 0} ssadoy. .

“‘AlUO asn ssousng
40) papuajuy aie pue ayy jo Ayadod SY] Ge *sauysew
x8) pue ‘sauoudayjay yousauy ew-3 ‘sayy ‘aueMyos
pue sempley Jayndiuwos Buipnyouy ‘papiaoid Seonosar ayy. .

- -MOjBQ PaUiNo sajoyod abesn oj }8[qns ase pue
(iJ) Juswipedag ABojouyoay UOPEWIO;L BL) AQ Pasa}siuILUpe aye sacunosay
esau “Ajaandaya pue Ajjuaroyja S@HNP wey) Woyed 0} Way, Bulmoje ‘sea
-Ao|dwa $}! 0).Saoinosas OMSL Puke Ja;Ndiuad jo AyayeA e S@piaoid SAMA

 

SOVSN SWALSAS Of NOwL93 13

“-sdiysuoneyes SSaulsngq poob oj je;uasse SI SSAUIPOMYSNI} Buninsas ot

“Bulpue}ssapunsiw 40 WWewla}eIS Yyons Aue oasioo Ajduiosd ‘paunsaso
sey Sulpue)siapunsiw Aue BABIN NOA jt JO Bupeajsity so asye) Ayeuonuey
-UIUN SEM ape Nod luawaye}s Aue yey) puy NOs 4) “Burpears|iu so asia aq
0] UMOUyX Baey pinoys nod souabyip ajqeuoseay uu yey} 10 Buipeaysiu
40 BS}2B) Bq O) MOLY NOA yey) jUawaje}s Bujpeaysiw Jo asje; Aue ayew jou
HIEYS NOA ‘yeyaq s Auedwoy 84} UO Ssaujsng Bunonpuos jo asunoo ay uy _

 

SINS WELVLS 397V4 ONV OnVad

: . “pasojosip Ajoyand

pue ‘SPJBPUe]S jBOIW]a 10 Me| B)qeaydde ajejoin jou op.

. ‘yoded jo aquqe
SE PaNsSUOd aq }OULIED PU anjeA UI aalssaoxa jou ae.

*$99}}981d ssauisng Asewoysnd UM JU9}SISUOD ale.

‘Aauy Jt AJUa udaib aq Aewi juawujyeyajue pue SIOABY ‘SIID) “Auedwog
ay} JO UoNe;ndas ay) UO 19848 BSIBAPe pue LONeyasdsayuisiLs PIOAR 0}
Pas[oiexe oq jsniw UOoljesspow pue ivawBpnl poos ‘sjusweonpul saujo
JO Saisapnoo ssauisng jo asn tadojduui ayy ySnoiy) aBeyueape seyun Aue
ule 0} yaes jou saop AMAA “sJayjddns pue syawoysno sy ua Buyjeap ul

“oul que wujepenuy Buns poy

. 84) BduanyU Auedoiduur 0}

. JO 818 Me 8q ISN NOK ‘soya Bu

_O} payyqua ae seahojdiuy ‘sjunoose asuedxa S) ajdwexa ue

‘oul Suawuepsiua Buses pro, —
"UOHEWWOJLY UOLOa188 BouNOS 10 Areyaudod uyeyqo 10 WoHOS
40/pue ‘saninjesB apiacid jo 1810

“SIPISINO |ByUaWLaAOB yyouaq Ayjeuossed pinos yeu)
Sojunyoddo sseuisng 10 juswAojdwa JayjOsossnosiq .

SOlpTAl}Oe Buymorjoy auy Jo Aue
NOK ‘Ayeoyioads . "yeuaq s
‘s1219NJ0 JUBLULWaAOB “Utod)

Ajyoauiput so Al\9941D ayeyapUN jou pinoys
JUBWLIBAGB ayy LO joe O4M Bsouy Buypnyou
HONEUUOJU! P|}914SA1 WIEIGO 30 ‘JO SudIsIDap
AS} JOU Pinoys NOs ‘auyepinB jesaueb & sy

“suoneinBa, pue sme; JUBAS/S! BU} 0} daype pue

!Aqqoy Aue Bulprjouy uawuaccb 12907]
10 SIEIS ‘eJapay e yim Buleap ole nok S18UM SBdUe}sLUNDW9 asoUy UI
‘saloueBe jeyuewuseaob 4M sseulsng op jou saop Aljesauab Auedwoy
ayy YyBnouye ‘alOJSIBYL "WeYSaq SjJUaUIUAADB ay) UO j9e OUM asoyy
JO ssafojdwa jvadiuaaob Wm sBuyeap uy ‘suojeinBas pue sme je007

40 8)8}S ‘esapay UIEVSS BBIOIA Waa Aew pue “aiqeydaooeun Ajazyua aq

Aew ‘mojaq Pequosap ‘ywewuonAuE SSAUISNG jeIJaWWOD aL] Ul aojoed
aiqeydaooe ‘sy yeura “PORNUOD yusUULWEADB eB YUM UONHS8uU0d UL yuaLY
71€82) B|Qes0ARy Burujeyqo yo asodind BUY] JO paydacae to P819)j6 danjea jo

BuryyAue sy 12U} .,"SYOBQuOIy, JO adue}dao0e 10 Buyayo ay) Syquyoid wey

‘S'N ‘UONppe uy *ssauisng sAuedwuog ayy yim YoNsauUeS Aue BulAeYy
SB Panssuoo aq Aiqeuoseas pynico os Bulop j1 uoneziuebio jeyuaunuaacd
Aue Jo aahojdius 40 |B1DN30 Aue 07 48 Aue to Aauow @AIB you Aew no,

SONSN TANI ydadOud WI ONY Saaing

- “SMM Aue NOA Joy Ayiqey
JEUILUUS JO JIAID 0} pear PINOS 3 “payiquyoid Ayyouys S| osje Auediiog aq}
SPIsno aydosd pue Suoneziuebio 0} UOHBLWUIOJU! Jo Bunsodas jsauaysig

“payqryoid st pue Bulpodas ysauoysip
S} paunoul jou asuadxa sayjo Aue JO} 10 ‘pasn you S}OY9} aussie
‘UBAUP JOU Sdylu ‘uayea jou Seal JOy yuNooDe asuadxa ue wus
“QNs O| ‘pauinour Ayenjoe ae sesuadxe asou; ji AjUO 1g — Adyod Aued
“wd Aq papiagid yuayxe 84 0] Sasuadxa ajqeuoseay Joy Wewasunquiras

‘Aueduias
a4) O} Yi sywans pue PUY SBWOS JO UOHeUNOJ;U spiodas “eahojdiua
Ajaaq ‘sjoe Payqiyosd yons uy syinsaz 1ey} juaweGueue Aue uw afefbua
lleyus eatojdwe ou pue ‘uosea: Aue 40} SPl0d81 puke syxooq Auedui05
84} Ul apeui 9 HIEYS $813}Ua jeje Jo eS1€} ON “Bsodind Aue toy pays
-ge}s8 aq yjeys Auedwog at jo jesse so Pun} papsooasun 40 pasojosipun

aL

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Case 3

JO snoiBijas ‘sainquaa je1osausui0s Jsay)o JO} seounosal ash

$Z “Du! YusLUUjeWaIUR BUNSeIAy pUos,
Sally jo Buyeys ‘Moe yeu) suonedydde pue suuoM ‘sasioy .
uefoy ‘sasha Jaynduoo se uMoUy sivesBoud sapnjou siut.
YOMYBU JO LWAYSAS Jajndwoo e uo Aynoas 84} asiluoid
“WiOD JO peo] dalssaoxa aoejd ‘aBewep 0) papueju weifoid
® '38SN JatyoOUe 0} Buiaj6. 40 ‘womjau Jo Ja}nduioo Aue ue
Buyyejsty so Bujuuns AjBurmouy (0} Pat you yng) Burpnyouy
*‘SyIOMJaU JO sfeJeyduad *SJBUILLIA} ‘SJayndusoOd jo uojjesado
JEUW4OU ayy YIM BJ9{8)UI IM JBY) JOB Ue wJopad ABurmouy

*payoeduy s| Ayyeuonouny Jey) OS Suayshs ay}
JOYE JO ‘SseM\OS JO BJEMpJeU JayndwoD abewep 0) ydwayjy

*SUIYDEW JO JUNOdOe Ue Jo Ayuapi au) ysew

40 ‘sajoydoo; Ayinoas ieaooun Jo Sawayds uoyoa}o1d. eyep

JUaAWINIWID 0} }dwayje ‘waysks sajndwoo Aue 0} ssaooe
Pezwoyneun web o} yomjau ayy asn ‘pajuei6 uaag
JOU sey UOHEZYOYINe YoY JO} yUNCDDE dajndwos 8 esp

‘sjuawndaop

" slasn J8Y1O BAIBS 0} JaAISS ay) jo Aywiqe ayy asiwoasduoo

BLWNJOA JO aunjeu asouM $[@\48)2WW apiaoid 0} saounosai asp)

*SBIOd SAA J8uyj0 JO/pue me; J290°] JO/pue 8]2)5 ‘jeiapa4
JO UOHEOIA Ut Jussseiey Jo uoyepesBap soy sdnoid
40 SIENPIAIPUL Jno ajBuls Jo ayepruNyy o} sadunosai asn .

*SJOVEUW SSBUISNG-OU Jao 40 ‘sasnieo I2OnYod

. ‘AyAyoe [eBay Aue ut
aBeBua 10 yaNpuos Jo sapoo

‘Sjuawuse6e Buisuasy

SIEMYOS ageoydde jo sua, syejo1A 40 ‘S8}EIS  payun
54} JO sme; WHUAdoD ayy jo UOj)eEjoIA Up JO Lossjuuad
INOYIUM BIEMYOS JO ‘BIpaut ‘)xa} ‘seBeun payyBuddoo asn
Me} 12009 40/pue 9}e)5 ‘jesapay

JO UONEIOIA Uy 40 ‘ADYOM siuy Jo LORE|OIA ul s@dinosas Buisn
#0 asodind ay} Jo} ssence wejshs pue qy uiSo; apioig .
‘LON iSnul suasn ‘sadinosas jo asn ajqejdaooe Burjew uy

‘spua SMA 12 uaWAo|dWwa rT quawdinba 4J8)Ndwos je uinyay

' $J9SN 'SBDINOSSI JO Asn aiqe;dasoe Bujyetu uy
pue ‘jususseiey "UONELULO;L| lBhuapyuos Bu

DU] “WMaWUIeHaIUR Bumsoiy pyos, —

 

02"
oo cos - tssaujo 0} eniydnusip
8q 1YyBiw yeu) SjENslA pue spunas jo asn wos weday
. : cog seoinosas Buyndwos
Paieys UO junooDR ss au0 Wold) sayy essacauun ayajaq .
, ; ‘S89!NOS3J Jayyo JO ‘sjen
“uew “Jaded sayusd 'aoeds xSIP Bunsem Jo 'eyep SAIsseoxa
Mum syJOmjaU . Bulpeopeao ‘suayshs Burzyodouow wo
Buruyesyas Aq ssoinosa, Peleys JO asn ut azevapisuoo ag.
-ssaooR
Pezuouine usalB ueeq sey suo YOIUM O} JO ‘aiqeyiene
Asnqnd ase-‘umo S.BUO S38 184) e1eEp pue sayy Ajuo ssaooy.
‘AyeinBen weBueys pue plomssed yunoase ainasqo ue ubissy  .
@sn PeZHOUNeUN Wo, Jajndwoa pue Gi uBbo, yajoig .
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TAB D
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World Wrestling Entertainment, Inc.
Equal Employment Opportunity/Sexual Harassment Policy

 

Equal Employment Opportunity has been and continues to be both policy and practice at World Wrestling Entertainment, Inc. Our policy of
Equal Employment Opportunity is to:

1. Recruit, hire, train and promote persons in al] job classifications without regard to race, color, religion, national origin, sex, age,
disabilities, veteran, or any other protected status.

2. Base decisions on employment so as to further the principles of Equal Employment Opportunity.

3. Ensure that promotion decisions are in accord with principles of Equal Employment Opportunity.

4. Ensure that’all personnel actions such as compensation, benefits, transfers, layoffs, return from layoff, and any social or recreational
programs, will be administered in accordance with the principles of Equal Employment Opportunity.

WWE is committed to maintaining a work environment that furthers the development of all its employees, encourages cooperation and
teamwork, provides a pleasant work environment and provides fair and ethical treatment of all employment issues.

As part of this commitment, WWE is dedicated to providing a work environment that is free from harassment, whether that harassment is
premised on sex, race, sexual orientation, age, religion, national origin or any other legally protected basis. Harassment creates working
conditions that are wholly inconsistent with WWE's commitment to its personnel. :

Examples of prohibited conduct include, without limitation:

» Interfering with a person’s ability to perform his/her job, or creating an offensive work environment through insulting or
degrading remarks, gestures, propositions, jokes, tricks, displays of sexually suggestive or other offensive symbols, objects
or pictures or similar conduct related to a legally protected basis, including SeX, race OF sexual orientation.

*. Inappropriate physical touching..

» Any threat of, or actual, retaliation against any person for reporting or filing claims of unlawful harassment. -

If you believe you have encountered unlawful harassment from any WWE employee or anyone otherwise associated with WWE, whether on
WWE premises or at WWE sponsored or related events, you should take the following steps: :

« Immediately report the incident to your supervisor, or the Vice President of Human Resources, or any other member of

management.
* ‘The Supervisor, or other members of management, must then report the incident to the Vice President of Human Resources. |

* The Human Resources Department will discretely vestigate the situation.
If you believe someone else at WWE has encountered unlawful harassment, you should encourage him/her to notify any of the appropriate
persons. You will not under any circumstances be criticized, punished, or in any other way retaliated against for utilizing this Unlawful

Harassment policy or for reporting incidents, which, in good faith, you believe to be violations of this policy. _

The Human Resources Department of WWE will investigate your report in as discreet and confidential a manner as is consistent with
developing all relevant facts. If WWE determines that unlawful harassment has occurred, appropriate disciplinary action will be taken, up to

and including discharge.

ACCEPTED AND AGREEMENT

oo é
I, fara » nd t b , have read and understand the Unlawful Harassment Policy of World Wrestling Entertainment, Inc.,
and agree to comply with it¢ terms and conditions.

Face DAnge 4-4

RINVNAME DATE

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SIGNATURE

 

 

  

Confidential - Produced Pursuant to Protective Order D 0044
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TAB E
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UNITED STATES DISTRICT COURT

DISTRICT OF CONNECTICUT

 

Civil Action No. 3:08-CV-1548 (JCH)

FARA D'ANGELO
Plaintiff,

Vv.

WORLD WRESTLING ENTERTAINMENT, INC.:
Defendant. :

 

CONFIDENTIAL

DEPOSITION OF SHERYL YAMUDER, a witness
called on behalf of the Plaintiff taken pursuant to the
Connecticut Federal Rules of Civil Procedure, before
Patricia M. Haynes, a Certified Shorthand Reporter and
Notary Public in and for the Commonwealth of
Massachusetts, CSR No.: 14620F, at the Regus Conference

Offices, 101 Federal Street, Boston, Massachusetts, on

Monday, March 8, 2010, commencing at 10:30 a.m.

 

 
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Q. Do you recall telling her that his eyes lit up
when he saw her?
MS. KIMBALL: Objection.
BY MR. BOYD:
A. I don't remember that.
Q. Do you recall any occasion where Mr. Romer
seemed to be hitting on Ms. D'Angelo?
MS. KIMBALL: Objection to form.
BY MR. BOYD:
A. I don't know what you mean by that.
Q. Do you think Mr. Romer was attracted to Ms.
D'Angelo?
A. I don't know.
Q. You didn't have any opinion on that subject?
A. I don't remember.
Q. Do you recall riding in a car with Ms.

D'Angelo to a holiday party when Mr. Romer called her on
her cell phone?
A. Not specifically, no.

Q. Do you recall her having you answer the phone

 

instead of her answering her phone?
A. No.
Q. Do you recall Mr. Romer ever being drunk and

calling Ms. D'Angelo?

 
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MS. GAMBARDELLA: Object to form.

BY MR. BOYD:

A.
Q.
A.
Q.

D'Angelo?

I don't know. I wouldn't have known.
So you don't recall?
No.

Did Mr. Romer ever call you looking for Ms.

MS. GAMBARDELLA: Object to form.

BY MR. BOYD:

A.
Q.
A.

Q.

I don't understand. Call me looking for her?
I can't find Fara. Do you know where she is?
I don't, I don't -- I don't remember.

Did Mr. Romer ever express to you whether or

not he was attracted to Ms. D'Angelo?

A.

Q.

No.

Did he ever express heightened interest in her

as opposed to other employees?

MS. KIMBALL: Objection to form.

BY MR. BOYD:

A.

Q.

I don't know what that means.

Did he seem more interested in Ms. D'Angelo

than others?

MS. KIMBALL: Objection.

MS. GAMBARDELLA: Objection.

 

 
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BY MR. BOYD:
A. I don't know.
Q. Did you ever talk with Ms. D'Angelo about
trips she took with Mr. Romer.
A. I wasn't aware of any trips she took with him.
Q. You didn't know she took any trips with him?
A. No.
Q. Did you ever see Mr. Romer touching Ms.
D'Angelo?
MS. GAMBARDELLA: Object to form.
MS. KIMBALL: Objection.
BY MR. BOYD:
A. I don't remember. I don't know.
Q. Did you ever see him try and kiss her?
A. I do not remember that, no.
Q. Did you ever see any evidence that Mr. Romer

was attracted to Ms. D'Angelo, any evidence?
MS. GAMBARDELLA: Object to form.
BY MR. BOYD:
A. No.
Q. Did Ms. D'Angelo ever talk to you about
problems she had with Mr. Romer?
A. Yes.

Q. When was the first occasion that you recall

 
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1 her communicating that to you?
2 A. I don't remember.
3 Q. *Did she communicate that feeling on more than
4 one occasion or just one?
5 MS. KIMBALL: Objection to form.
6 MS. GAMBARDELLA: Feeling?
7 MR. BOYD: Please read back the question.
8 (*Court reporter reads back noted
9 testimony as recorded. )

10 BY MR. BOYD:
11 A. I did not say anything about feelings. You

12 didn't ask me that and that's not what I said.

13 Q. Can you clarify that?

14 A. No.

15 Q. Did Ms. D'Angelo talk to you about Mr. Romer?
16 A. Yes.

17 Q. Did she talk to you about feeling

18 uncomfortable because of what Mr. Romer did or the way
19 he acted?

20 A. No.

21 Q. Did she ever express concern about her

22 interactions with Mr. Romer?

23 A. Yes.

24 Q. What concerns did she express?

 
 

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A. He overcommunicated, micromanaged. He put a
lot of responsibility on her. He expected her to be
responsive to him more than she felt was necessary.

Q. Anything else?

A. Not that I remember.

Q. Do you recall her expressing any concern that
Mr. Romer was interested in her sexually speaking for
lack of a better way?

A. No.

Q. What about that he was interested in dating
her?

A. No.

Q. Did you ever hear Mr. Romer say anything
sexually inappropriate?

A. I don't know what that means.

Q. Did you ever hear Mr. Romer say inappropriate
things?

MS. KIMBALL: Objection.
MS. GAMBARDELLA: Same objection to form.
BY MR. BOYD:
A. What is inappropriate?
Q. Did you ever hear Mr. Romer say he'd put his
dick on the line for Ms. D'Angelo?

A. No.

 

 
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Q. Did you ever hear him saying he would put his
dick on the line for any other worker?

A. No.

Q. Did you ever hear that Mr. Romer invited Ms.
D'Angelo to dinner alone, just the two of them?

A. I don't know, I don't know.

Q. So you never heard that?

A. I don't know. I don't think so.

Q. Did you ever hear that he called Ms. D'Angelo

drunk, that he was drunk calling her?

MS. KIMBALL: Objection. Are you talking
about ever heard anyone say it or did she hear him say
it?

BY MR. BOYD:
Q. When I'm asking the questions, I'm asking
whether or not Ms. D'Angelo informed you of this or you

heard from some other party of these same things.

A. No.

Q. That is to whether he called her drunk
question?

A. Yes.

Q. Did you ever hear that Mr. Romer invited Ms.

D'Angelo to go on vacation with him?

MS. GAMBARDELLA: Object to form.

 

 

 

 

 

 

 
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Page 64

BY MR. BOYD:

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her?

A.

Q.
unusually

A.

Q.

No.

Did you ever hear he touched her on the waist?
No.

How about that he caressed her hair?

No.

Touched her on the face?

No.

How about on the butt?

No.

Or on the lower back?

 

Not that I recall.

Did you ever hear that he put his arms around

No.

Did you ever hear or witness that he spoke
close to her as if he was about to kiss her?
No.

Did you ever hear him use unusual terms of

endearment for her, like precious, calling her precious?

A.

Q
A.
Q

No.
How about calling her Tinkerbell?
No.

Did you ever hear him ask or hear that he

 

 
 

 

 

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leaving?

A. No.

Q. Did you talk to Mr. Romer on or about the time
you received the e-mail?

A. No.

Q. Did you talk to Mr. Romer on the day that Ms.
D'Angelo tendered her resignation?

A. I don't remember.

Q. Did you have occasion to talk to human
resources on the day that Ms. D'Angelo resigned?

A. Yes.

Q. With whom did you speak at human resources?

A. Danielle Fisher.

Q. At what point in time was that?

A. Shortly after receipt of the e-mail.

Q. Did you go to speak to Ms. Fisher or did Ms.
Fisher come to speak to you?

A. Neither.

Q. What occasioned you to speak with Ms. Fisher?

A. I went to speak to Donna -- Donna, Donna --

feel free to give me her last name.
MS. GAMBARDELLA: Goldsmith.
BY MR. BOYD: :

A. Donna Goldsmith. Donna Goldsmith called

 

 
 

 

 

 

 

 

 

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Danielle Fisher

Q. So you received the e-mail from Ms. D'Angelo,
correct?

A. Yes.

Q. And then Ms. Goldsmith called you?

A No

Q. You called Ms. Goldsmith?

A. Yes.

Q And then what happened?

A Ms. Goldsmith called Danielle Fisher.

Q. Did Ms. Fisher then call you?

A. No.

Q. Did you go to see Ms. Fisher?

A. No.

Q. Did Ms. Fisher come to see you?

A. No.

Q. Did you speak with Ms. Fisher at all?

A. Yes.

Q. How?

A. I went to see Ms. Goldsmith. Ms. Goldsmith

called Danielle Fisher.
Q. And then did you meet with Ms. Fisher?

A. Yes.

Q. Where did you meet with Ms. Fisher?

 
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A. In Ms. Goldsmith's office.

Q. That is on that same day, if you will?

A. Yes.

Q. Just so I understand the occupants of the

office, it was you and Ms. Goldsmith and Ms. Fisher at

the time. Is that right?

A. Yes.
Q. And what was discussed at that point?
A. I was concerned because I had had a

conversation with Ms. D'Angelo shortly before she
resigned where she shared a story. I advised her to
speak to Donna Goldsmith or HR about her story. I
wanted to be sure she had done that.

Q. Can you tell me what the story was?

A. She had gone to, on a WWE trip to Europe. She
had had, according to her, because I was not in Europe
and I did not see anything and I did not hear anything.

Q. Understood.

A. According to her, she went to Europe and she
had two negative interactions with Mr. Romer.

Q. Can you tell me what those two interactions
were, please?

A. I don't remember the detail. I remember that

there was a negative interaction at a hotel and TI

 

 

 
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believe there was a negative interaction in a cab.

Q. I know you don't recall all the details, but
negative interaction, I would like to probe why you
characterize it as negative to the extent that I can.

Let's take them one at a time. Let's talk
about the negative interaction at the hotel first. What
do you recall about the story and the negative
interaction at the hotel?

A. There was a group of people. They had some
kind of disagreement. She ended up leaving. I believe

they were all in a bar in the hotel.

Q. Do you recall who the group of people
included?

A. No.

Q. Was Mr. Romer one of the grouping?

A. Yes.

Q. What else do you recall about the details of
that?

A. That's what I recall.

Q. What gave you the mindset to believe that a

disagreement in the bar was something you should bring
up to HR?
A. It was unusual. It was something she

expressed as something that she was not happy about.
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Q. In the course of that story about the hotel,
did Ms. D'Angelo express a belief that Mr. Romer was
acting inappropriately towards her?
A. What do you mean by inappropriately?
Q. Was he hitting on her?
MS. KIMBALL: Objection.
BY MR. BOYD:
A. I don't know.
Q. What was he doing that made her uncomfortable,

if anything?

A. I know it had to do with some things he said.
I know it had to do with things he said.

Q. Do you know what "things" he said?

A. I don't remember now. I do believe she said,
that Fara said that he had been drinking.

Q. How did she describe his actions beside the
fact that he had been drinking?

A. Upsetting to her.

Q. Aggressive?

MS. KIMBALL: Objection.

BY MR. BOYD:

A. No.

Q. Did she characterize him, you testified that

it was a negative story?

 

 

 
 

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A. Yes.

Q. At this point in time, I understand that Mr.
Romer had been drinking because you testified to that --
excuse me, that Ms. D'Angelo told you Mr. Romer had been
drinking and that it was a negative experience?

A. Yes.

Q. Is there anything else that you recall that
made it sound negative?

MS. KIMBALL: Objection to form.
BY MR. BOYD:

A. When you say negative, you mean --

Q. I'm using the phrase you gave me. You said
there had been two negative interactions. |

A. It bothered her. The interaction bothered

her, was upsetting to her.

Q. Why, did she tell you?

A. I don't remember the details. I don't
remember them now. I remember it made her
uncomfortable. I remember she was annoyed. I would be

guessing if I tried to say anything else now.

Q. Did you get the impression in any way that
part of the reason she felt uncomfortable was because
she was a woman?

MS. KIMBALL: Objection.

 

 

 
 

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MS. GAMBARDELLA: Objection.
BY MR. BOYD:
A. No.
Q. You didn't get the opinion in any way that Mr.

Romer was conducting himself in a manner that suggested
he was attracted to her?
MS. KIMBALL: Objection.

BY MR. BOYD:

 

A. I don't know. No. I don't know. I wasn't
there.

Q. I know you weren't there. I'm asking what Ms.
D'Angelo expressed to you. I understand the veracity is

not something you would know about.

MS. KIMBALL: I thought you asked if she
formed an opinion.

MS. GAMBARDELLA: He did.

MS. KIMBALL: Which is different from what
Ms. D'Angelo expressed to her.

MR. BOYD: I'm not trying to be misleading
here.
BY MR. BOYD:

Q. Do you recall with respect to that negative

 

interaction at the hotel whether or not Mr. Romer tried

to get in her room?

 

 

 
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A. I don't know.
Q. Do you recall whether she told you that?
A. No.
Q. Do you recall whether she told you that he

grabbed her and touched her in any way?
MS. GAMBARDELLA: Objection to form.
BY MR. BOYD:
A. Grabbed her? No.
Q. Do you recall whether or not she thought he
was acting in a jealous manner?
MS. KIMBALL: Objection.
BY MR. BOYD:
A. I don't know what you mean by that.
Q. Jealous? |
MS. KIMBALL: You're asking what she
thought.
MR. BOYD: I'm trying to be as clear as I
can. I'1l try it differently.
BY MR. BOYD:
Q. In every way I'm asking the questions, I'm not
asking what you understood to have happened. I'm merely

asking you what Ms. D'Angelo conveyed as her feelings at

 

the time.

A. It would help if you said that.
 

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Case 3:08-cyv-01548-1CH Document 37-2 Filed 04/19/10 Page of 92

Q. I understand you weren't there and I
understand this was much time thereafter and I
understand that you can't possibly know what happened or
what he did at this point. All these things I
understand.

The only thing I'm trying to cover is what was
expressed to you when Ms. D'Angelo shared these events
with you?

A. That she was annoyed and upset about his
behavior. That there was a negative interaction in the
hotel in the bar, this is my recollection, and that's
what I remember.

Q. But there was nothing that she expressed that
conveyed to you a feeling that the negativity of the
interaction had anything to do with Mr. Romer's
attraction for her or desire for her or anything of that
sort?

MS. KIMBALL: Objection to form.
BY MR. BOYD:

A. She was unhappy about the interaction,
extremely unhappy about the interaction. Is that what
you're asking me?

Q. I'm trying to get to whether or not, as you

probably know, that she was expressing to you she

 

 
Case 3:08-cy-01548-JCH Document 37-2 Filed 04/19/10 Page.28 of 92 _______

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1 believed Mr. Romer was sexually harassing her?

2 A. I don't know --

3 MS. KIMBALL: Objection to form.

4 BY MR. BOYD:

5 A. I don't know what that means.

6 Q. Making her uncomfortable as a woman I guess?

7 MS. GAMBARDELLA: That doesn't necessarily
8 mean sexual harassment.

9 MR. BOYD: Nor did I say it does.

10 MS. GAMBARDELLA: You defined it that way.
11 BY MR. BOYD:

12 A. He made her uncomfortable. He made her

13 uncomfortable. As a person, she was clearly

14 uncomfortable.

15 Q. But you don't know exactly what he did to make
16 her uncomfortable?

17 A. There was a negative interaction in the bar.
18 And that made her uncomfortable, annoyed and whatever
19 else I already said.

20 Q. But she was not expressing to you any
21 sexuality implicit lack of comfort?
22 A. I don't remember the, I don't remember the
23 detail of the conversation. I do remember that she was

 

24 very unhappy and annoyed about the interaction and that

 

 
 

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Page 77
it was negative and that it was in a public place. I
think I've said that. Did I say that already?
Q. A public place is the first time I heard that
part.
A. The bar. Unless it was a private bar.
Q. Let's go back for a second. This conversation

that you had with Ms. D'Angelo, when was it that she
recited to you about the negative interaction in the
hotel and the negative interaction in the car or taxi?

When did she share these things with you?

A. Not long before she resigned.
Q. Was it a week before, a month before?
A. I think it was something like a week before.

I don't remember exactly.
Q. Could it have been a month before?
MS. GAMBARDELLA: Object to form.
MS. KIMBALL: Objection.
BY MR. BOYD:
A. I don't think so. I don't, no.
MS. GAMBARDELLA: I don't know or no?
THE WITNESS: No.
BY MR. BOYD:
Q. Where was the interaction, where did you have

the discussion with Ms. D'Angelo?

 
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A. I don't remember.

Q. You testified that there was a second negative
interaction that she described to you?

A. Yes.

Q. I believe you said that occurred in a car or
taxi?

A. I think I remember her saying that it was ina
taxi.

Q. Can you tell me everything you remember about
that negative interaction and what she told you?

A. Again, she was annoyed. She objected to what

she said was a negative exchange of some kind. TI
remember that it followed the first incident on the same
trip. I remember that she was very unhappy about it. I
don't know what was said.

Q. What about the interaction in the taxi that
she shared with you gave you the impression she was

unhappy about it?

A. She said so.

Q. What did she say happened?

A. I don't remember.

Q. You don't remember anything about what she

said happened?

A. No. I remember her telling me about it. I

 

 
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remember her saying that it bothered her. I remember
her saying that it was a negative experience. I do not
recall what the interaction was.

Q. Let's talk about it this way. The cab we are
referring to or she was referring to and we are now
talking about, was she in the cab with Mr. Romer?

A. She said she was in a cab with Mr. Romer as I
recall.

Q. Was anybody else in the cab?

A. I don't know.

Q. They were both in the cab and something

happened that made her feel negative?
A. Yes.
Q. Did she tell you anything about what happened

that made her feel negative?

A. Yes.

Q. What do you remember about what she said
happened?

A. I don't.

Q. You don't remember anything about what she

said happened in the cab?
A. Did you ask me this already?
MS. KIMBALL: She already said she doesn't

recall what was said or what happened.

 

 

 

 

 
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BY MR. BOYD:

A. I don't remember what the interaction that she
described -- I don't remember what she described to me
as the interaction.

Q. You remember nothing?

MS. GAMBARDELLA: Asked and answered.
Objection.
BY MR. BOYD:

A. No.

Q. Do you know if there was a disagreement
between Ms. D'Angelo and Mr. Romer?

A. It was expressed to me as a negative
interaction. There was discord. I remember there was
discord.

Q. But that's all you remember?

A. Other than what I already told you, yes.

Q. Bringing us to the day of Ms. D'Angelo's
resignation. You told HR about the two negative
interactions?

A. Yes.

Q. With no more detail than you told me at this
point?

MS. GAMBARDELLA: Objection.

MS. KIMBALL: Objection.

 

 
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wanted to report anything to human resources?

A. No.

Q. Did she tell you she was afraid to report
these negative incidents to human resources?

A. No.

Q. Were you aware of the complaint procedure at
WWE for reporting complaints of harassment or
discrimination?

A. I was aware that if people had issues, they
should go and speak to someone.

Q. In fact, you utilized it?

A. I went and spoke to someone.

Q. I'm not going to get into that. The question

I was leading up to was did you ever understand that you
were a designated recipient of those kind of complaints
at the company?

MR. BOYD: Objection.
BY MS. GAMBARDELLA:

A. No.

Q. Were you responsible for receipt of
discrimination or harassment complaints at any time at
that company?

A. No.

Q. Did you supervise or have any managerial

 

 
 

 

 

 

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Q. Counselor, would you say that in addition to
interacting with Ms. D'Angelo in terms of your work
responsibilities, you were also friends with her?
A. Yes.
Q. And I'm not going to go into the substance, I

have a generic question. Did you and she share
confidences about your personal lives?

A. Yes.

Q. During the friendship that you two had
together, did she tell you at any point in time she was
being sexually harassed by Mr. Romer?

A. No.

Q. In fact, is it accurate to state, let's leave
all the negative incidents aside, the two incidents,
that the main complaint she had about Alex was his
micromanaging style?

A. Yes.

Q. And the 24/7 expectation that he needed her to
be responsive, that kind of thing you testified to?

A. Yes.

Q. Did you ever communicate with Fara D'Angelo in
writing at any time either during your employment at WWE

or afterwards concerning Alex Romer? Strike that.

Since you left WWE, did you travel with Ms. D'Angelo?

 
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TAB F
- Case 3:08-cv-01548-JCH Document 37-2 Filed 04/19/10 Page 36 of 98

CHRO Charge Number: 0720125
Fara D’Angelo v. World Wrestling Entertainment, Inc.

AFFIDAVIT OF KURT SCHNEIDER

STATE OF CONNECTICUT )
) ss: Stamford, CT

COUNTY OF FAIRFIELD )

The undersigned, having been duly sworn, hereby deposes and says:

1. Iam Executive Vice President of Marketing of the Respondent, WWE. I have been
employed by the WWE since February 24, 2003. I make this statement based on my
personal knowledge of the facts hereinafter set forth and in support of the Respondent’s
Statement of Position and Admit/Deny Statement. |

2. Iam not, and never have been, Fara D’Angelo’s supervisor.

3. Iunderstand that in Ms. D’Angelo’s CHRO Complaint, she claims that during an April
2006 trip to Milan, Italy, that Joel Satin and I; Senior Director of Multi-Media, witnessed
Romer “acting ridiculously and sexually possessive,” and that we discussed the issue
with Ms. D’Angelo. Ms. D’ Angelo asserts that neither Joel Satin nor I suggested
Romer’s behavior was improper, did not report it, and did not encourage her to report it
to Human Resources. Ms. D’ Angelo claims that I offered only to help find her a new job.
I deny Ms. D’ Angelo’s allegations.

4. A number of WWE employees, including Joel Satin, Alex Romer, Fara D’ Angelo and I,
were in the bar of the hotel where we were staying. Nothing I witnessed in the bar led me

to believe that there was any improper behavior on the part of Alex Romer towards Ms.

D’ Angelo, nor did I witness behavior which was “sexually possessive.”

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> Case 3:08-cv-01548-JCH Document 37-2 Filed 04/19/10 Page 37 of 98

5. Mr. Satin, Ms. D’Angelo, and I left the bar at the same time. I rode up in the elevator
with Mr. Satin and Ms. D’Angelo. After Mr. Satin got out of the elevator, Ms. D’ Angelo
told me she had a new job offer at a paint company. She said it was a better opportunity
and was closer to her home. I believed that her mind was made up to leave and only
cautioned her that taking a job with a paint company may preclude her from finding work
in the entertainment field in the future.

6. However, in response, Ms. D’ Angelo stressed that she would have a better career path as
a Product Manager of the paint company. She never once suggested she was leaving the
WWE due to problems with Mr. Romer.

7. While in the elevator with me, Ms. D’Angelo’s cell phone rang. She remarked that it was
Alex Romer, who had been “annoying” her. I told her that if she did not want to return
his call she should go back to her room and simply go to sleep. Given Romer’s
reputation as being somewhat “work-obsessed”, I assumed this call was work related.

8. Indeed, Romer was known to think nothing of calling his reports and co-workers at all
hours for work-related issues. In fact, Ms. D’Angelo never indicated that Romer’s
behavior was anything other than work-related.

9. [learned of Ms. D’Angelo’s resignation only after it had been submitted. I was
interviewed during the Human Resource Department investigation about Ms. D’Angelo’s
allegations made on the heels of that resignation. I was surprised by Ms. D’Angelo’s
allegations that I was aware she was sexually harassed by Mr. Romer by virtue of the
Milan events. Again, I never witnessed any behavior indicating such conduct was

occurring, nor did Ms. D’ Angelo ever raise such allegations to me.

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10. I was, and am, fully aware of my reporting obligations in my position with the WWE,
and would have complied with all such obligations had I acquired any information, from

any source, that Ms. D’ Angelo was encountering sexually harassing behavior by Mr.

Lp dh

KURT SCHNEIDER

Romer.

 

On this Qithday of December, 2006, before me, personally appeared KURT
SCHNEIDER, who affirmed under oath the truth of the foregoing Affidavit to the best
of his knowledge, information, and/or belief.

Subscribed and Sworn to
before me this 2 ith day of
December , 20b6 .

han goret M. fauna
Notary Public C

MARGARET M. YTUARTE
NOTARY PUBLIC
EY COMMISSION EXPIRES JULY 31, 2007

NY:1517163v1 -3-
Case 3:08-cv-01548-JCH Document 37-2 Filed 04/19/10 Page 39 of 98

TAB G
Case 3:08-cv-01548-JCH Document 37-2 Filed 04/19/10 Page 40 of 98

CHRO Charge Number: 0720125
Fara D’ Angelo vy. World Wrestling Entertainment, Inc.

AFFIDAVIT OF JOEL SATIN
STATE OF CONNECTICUT )
) ss: Stamford, CT
COUNTY OF FAIRFIELD )
The undersigned, having been duly sworn, hereby deposes and says:

1. Iam Senior Director of Multi-Media of the Respondent, WWE. Lhave been employed
with the WWE since September 18, 2000. I make this statement based on my personal
knowledge of the facts hereinafter set forth and in support of the Respondent’s Statement
of Position and Admit/Deny Staternent.

2. [am not, and never have been, Fara D’Angelo’s supervisor.

3. Tunderstand that in Ms. D’Angelo’s CHRO Complaint, she claims that during an April
2006 trip to Milan, Italy, me and Kurt Schneider, Executive Vice President of Marketing
for WWE, witnessed Romer “acting ridiculously and sexually possessive,” and that we
discussed the issue with Ms. D’Angelo. Ms. D’Angelo asserts that neither Kurt
Schneider nor I suggested Romer’s behavior was improper, did not report it, and did not
encourage her to report it to Human Resources. I deny Ms. D’Angelo’s allegations.

4. A number of WWE employees, including me, Kurt Schneider, Alex Romer and Fara
D’Angelo, were in the bar of the hotel where we were staying. Nothing I witnessed in
the bar led me to believe that there was any improper sexual behavior on the part of Alex

Romer towards Ms. D’ Angelo, nor did I witness behavior which was “sexually

possessive.”

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5. Mr. Schneider, Ms. D’Angelo and I left the bar at the same time. I rode up in the elevator
with Mr. Schneider and Ms. D’ Angelo, left them in the elevator and went to my room to
go to sleep. At no time did I discuss any actions or behavior of Romer with Ms.

D’ Angelo related to the Milan trip. Again, I did not witness any improper sexual
behavior, and no one, including Ms. D’Angleo, raised any concern to me of sexually
harassing behavior by Romer.

6. Since I was under the impression shared by a number of WWE employees that Romer,
who was D’Angelo’s supervisor, was a “workaholic”, approximately one week after
returning to WWE’s Stamford, Connecticut office from Milan, I initiated a conversation
with Ms. D’ Angelo about the workload and corresponding pressures I observed being
imposed on her by Romer while on the Milan trip. While I cannot recall her exact
response, the entire discussion was work-related, and she did not respond in any way that
indicated or implied Romer was sexually harassing or pressuring her on a personal level.

7. Subsequently, I learned from Romer’s supervisor, Donna Goldsmith, that Ms. D’Angelo
had submitted her resignation in early May, 2006. I was subsequently interviewed as part
of a Human Resources investigation of Ms. D’Angelo’s allegations. It was only then that
I learned that Ms. D’Angelo alleged Romer had been sexually harassing her, and that she
further claimed I was aware of such sexual harassment based on events which had
occurred during the Milan trip.

8. Again, I never witnessed any behavior indicating sexual harassment was occurring, nor
did I discuss any-such conduct with Ms. D’Angelo. Had I observed or been made aware
of any improper conduct by Romer towards Ms. D’ Angelo at any time, I would have

reported such conduct immediately to Human Resources.

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9, Indeed, it defies credibility that I would be concerned about Ms. D’Angelo’s general
well-being and level of stress due to a heavy workload, and follow up with her as to how

she was feeling in that regard, but not follow up with a report, or even suspicion, that she

ApJ lik

JOEI/SATIN

was being sexually harassed.

On this list day of December, 2006, before me, personally appeared JOEL SATIN,
who affirmed under oath the truth of the foregoing Affidavit to the best of his knowledge,

information, and/or belief.

Subscribed and Sworn to
before me this ,“]5? day of
December , A ob.

ban danet n Yrowrte
Notary Rifblic U
MARGARET M. YTUARTE

NOTARY PUBLIC
38Y COMMISSION EXPIRES JULY 31, 2007

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TAB H
 

 

 
        

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From: D'Angelo, Fara
Int: Wednesday, December 29, 2004 11:48 AM
0: ‘alyssa’
Subject: RE:

Who is the doctor? Will it be a sausage fest? | d like to go somewhere with good music and get ail prettied up!!

Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT 06902

(phone) +1.203.406.3602

(fax) 203.359.5115

 

-----Original Message-----

From: alyssa [mailto:lysmonks@hotmail.com]
Sent: Wednesday, December 29, 2004 11:29 AM
To: D'Angelo, Fara

Subject: Re:

option 3 sounds good. where you think?

I might be tagging with you, if you do something low key and locally and not too expensive....

I don't want to just go hang out at Colin's restaurant like a fan club. plus he doesn't really want people there to know about us b/c it
would suck for his ex and make shit worse and I want to respect that. although, I'd like to show up there at the end of the night and

I got invited to a party with a bunch of doctors in the east village - could be interesting....free anyway, and we'd be the hottest pieces of
ass there....with all doctors...

----- Original Message -----

From: D'Angelo, Fara

To: alyssa
Sent: Tuesday, December 28, 2004 9:52 AM

Subject: RE:
Not sure yet... trying to find something to do....

Option 1 — Studio 4 in fort lee nj — with a bunch of guy friends — | need a wing man though....
Option 2 — this place called Cotton w her boy and me.. — don’t think | will be there

Option 3 — somewhere with Sheila in city - not sure yet

Option 4 — home — doing nothing....

Option 5 — | have a feeling Rob will call me last minute and ask to hang out??? ...

| m not all that excited about the plans bc nothing is definite yet...
What are u thinking?

Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St. °

Stamford, CT 06902

(phone) +1.203.406.3602

(fax) 203.359.5115

CONFIDENTIAL D 00000986
Case 3:08-cv-01548-JCH Document 37-2 Filed 04/19/10 Page 47 of 98

 

From: D'Angelo, Fara
Sent: Wednesday, April 20, 2005 2:06 PM
; | Or Romer, Alex
- “ubject: RE:
-)

Fara D‘Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT 96902

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(fax) 203.359.5115

wa-+- Original Message-----

From: Romer, Alex

Sent: Wednesday, April 20, 2005 2:6@ PM
To: D'Angelo, Fara

Subject: Re:

No idea. Sure we will be able to feed you though

Sent from my BlackBerry Wireless Handheld

eee Original Message-----
“om: D'Angelo, Fara <Fara.DAngelo@wwecorp.com>
To: Romer, Alex <alex.romer@wwecorp.com>
Sent: Wed Apr 26 13:39:37 2005
Subject: RE:

Just a crush...
do they sell fish and chips at the arenas in London? Or ny style pretzels?

Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT 96902

(phone) +1.203.406. 3602

(fax) 203.359.5115

+---- Original Message-----

From: Romer, Alex

Sent: Wednesday, April 20, 2665 1:35 PM
To: D'Angelo, Fara

Subject: Re:

More like an obsession...

CONFIDENTIAL D 00000836
.

- af Case 3:08-cv-01548-JCH Document 37-2 Filed 04/19/10 Page 48 of 98

rr D'Angelo, Fara <Fara.DAngelo@wwecorp.com>
Ju: Romer, Alex <alex.romer@wwecorp.com>

Sent: Wed Apr 20 13:32:54 2005

Subject: RE:

Lol.... was a joke... good visual though...

Me - sitting here eating gross rubbery curly fries -- cant wait to eat some good European grub..

Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT 96902

(phone) +1.293.486. 3602

(fax) 203.359.5115

ooeee Original Message-----

From: Romer, Alex

Sent: Wednesday, April 28, 20@5 1:21 PM
To: D'Angelo, Fara

Subject: Re:

You tart...he have a rather smart suit and tie....and shirt on

Sent from my BlackBerry Wireless Handheld

wree- Original Message-----
From: D'Angelo, Fara <Fara.DAngelo@wwecorp.com>
To: Romer, Alex <alex.romer@wwecorp.com>

Sent: Wed Apr 26 13:18:26 2005 | _. i

Subject: RE:
Oh my goodness.... does he have shirt on or off?

Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT 96902

(phone) +1.203.406.3662

(fax) 203.359.5115

~----Original Message-----

From: Romer, Alex

Sent: Wednesday, April 20, 2605 1:16 PM
To: D'Angelo, Fara

Subject:

Standing here watching batista doing an interview with sky italia....

Sent from my BlackBerry Wireless Handheld

CONFIDENTIAL D 00000837
Case 3:08-cv-01548-JCH Document 37-2 Filed.04/19/10 Page 49 of 98

 

From: D'Angelo, Fara

£ : Thursday, April 21, 2005 11:38 AM
Tu. Romer, Alex

Subject: RE: Danilo

Wow... that sounds rough... esp. the part about ur zippo. Be sure to show me what the Zippo is.
Well be sure to get some rest bc Tinks is coming to town.....:-)

Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT @69e2

(phone) +1.203.4@6.3602

(fax) 263.359.5115

rae Original Message-----

From: Romer, Alex

Sent: Thursday, April 21, 2005 11:11 AM
To: D*Angelo, Fara

Subject: Re: Danilo

Thank you. Had a bad day. Got to the wrong airport in berlin, had to post my zippo home as they
weuldn't let me have it on the plane, my hotel room in dublin was cancelled by someone and some of
merch for la gazzette was stolen from the van in italy. At pa with cena and torrie so things

are getting better

 

3am: to bed. Tired: . sete

 

Bring them with you

Sent from -my BlackBerry. Wireless Handheld

sietataiel Original Message---~-

From: D'Angelo, Fara <Fara.DAnge lo@wwecorp. com>
To: Romer, Alex <alex.romer@wwecorp.com>

Sent: Thu Apr 21 10:55:39 2005

Subject: RE: Danilo

I can see the wheels turning.... :-)
How u feeling today?
I will have the cena jerseys by noon today. Shall I bring them with me?

Fara D'Angelo
Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.
S*amford, CT 66902

one) +1.203.466.36e2
(fax) 203.359.5115

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Case 3:08-cv-01548-JCH Document 37-2 Filed 04/19/10 Page 50 of 98

----- Original Message-----

From: Romer, Alex

Sent: Thursday, April 21, 2€@5 10:52 AM
To: D'Angelo, Fara

Subject: Re: Danilo

Ah I knew they had invoiced

Sent from my BlackBerry Wireless Handheld

wecen Original Message-----

From: D'Angelo, Fara <Fara.DAngelo@wwecorp. com>

To: Stinchfield, Erin <Erin.Stinchfield@wwecorp.com>
CC: Romer, Alex <alex.romer@wwecorp.com>

Sent: Thu Apr 21 10:26:25 20@5

Subject: FW: Danilo

Hi Erin
See below

Fara D'Angelo
Global Licensing Coordinator
World Wrestling Entertainment

1241 East Main St.
Stamford, CT 86922 - oo : oo — Co

(phone) +1.203.406. 3602

(fax) 283.359.5115

wann- Original Message-----

From: McGuire, Gemma (CPLG UK) [mailto: gmcguire@cplg.com]
Sent: Thursday, April 21, 2085 9:07 AM

To: D'Angelo, Fara

Subject: RE: Danilo

Hi Fara,

I agree with your reconciliation for Danilo, this amount has been invoiced and was paid to us on
the 11th April.

The amount will be wired to you with the rest of the April receipts at the end of May.

Kind regards

CONFIDENTIAL Produced Pursuant to Protective Order BD 00001518
Gemma

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wen-- Original Message-----

From: D'Angelo, Fara [mailto:Fara.DAngelo@wwecorp.com]

Sent: 29 April 2005 22:39
To: gmcguire@cplg.com
Subject: FW: Danilo

Hi Gemma

Please see the attached reconciliation for Danilo.

See the note below. Can you let me know

if our records match and if so when do you expect that Danilo will pay the amount that is now in
arrears?

Thanks

Fara D'Angelo
Global Licensing Coordinator
World Wrestling Entertainment

1241 East Main St?
Stamford, CT 86962

(phone) +1.203.486.3602

(fax) 203.359.5115"

netnn Original Message--~--

From: Stinchfield, Erin

Sent: Wednesday, April 20, 2¢@5 12:@3 PM
To: D'Angelo, Fara

Cc: Romer, Alex; Bergamasco, Tom
Subject: Danilo

Fara,

We received an2dactt advance from Danilo for their new contract starting January 1, 29@5.
F ilo owes us ‘Redacted*for the excess of their 4th quarter earnings over their Redactec advance
contract year 2 on their old contract. (Please see rec for details).

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Page 1 of 4

Romer, Alex

From: Romer, Alex

Sent; Thursday, June 02, 2005 6:10 PM
To: D'Angelo, Fara

Subject: RE: grace samples

If you believe in your self you can ©

——Onginal Message——

From: D'Angelo, Fara

Sent: Thursday, June 02, 2005 1:01 PM
To: Romer, Alex

Subject; RE: grace samples

Ha... that’s a funny one...

Fara D'Angelo

Global Licensing Coordinator

World Wrestling Entertainment

1241 Bast Main St.

Stamford, CT 06902

(phone) +).203.406.3602

(fax) 203.359.5115 '

——Onginal Messege—

From: Romer, Alex

Sent: Thursday, June 02, 2005 10:31 AM
‘To: D'Angelo, Fara

Subject; RE: grace samples

Told you — you can have anyone you want....

——Original Message-——-

From: D'Angelo, Fara

Sent: Thursday, June 02, 2005 10:28 AM
To: Romer, Alex

Subject: RE: grace samples

t will probably have to retire early , maybe at 32 ~- find me arichone...

Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT 06902

(phone) +1.203.406.3602

(fax) 203.359.5115

~——Original Message——
From: Romer, Alex
Sent: Thursday, June 02, 2005 10:28 AM

5/8/2006

p£0/600 Fy PLT Teuotpeussiuy 3hh SLLL pESB Of PH+ K¥4S ES?BL 900% SO/8B0

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Case 3:08-cv-01548-JCH Document 37-2 Filed 04/19/10 Page 53 of 98

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To: D'Angelo, Fara
Subject: RE: grace samples

You wait until you get t my dizzy heights!

—— Original Message-——~-

From: D'Angelo, Fara

Sent: Thursday, June 02, 2005 10-26 AM
Ta: Romer, Alex

Subject: RE: grace samples

I] must be getting alzheimer's with my old age...

Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT 06902

(phone) +1.203.406.3602

(fax) 203.359.5115

5/8/2006

reo/olLoB

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PL 7 TeuoT eusarur apa

~-~- Original Message—-

From: Romer, Alex

Sent: Thursday, June 02, 2005 10:25 AM
To: D'Angelo, Fara

Subject: RE: grace samples

———Original Message--—

From: D'Angelo, Fara

Sent: Thursday, June 02, 2005 10:22 AM
To: Romer, Alex

Subject: FW: grace samples

So squat js allowed to put our authentic designs on the jewelry
and wallets that they do? When did this happen? [Alex Romer}
ages ago — you were there]

To clarify , Satoko must request the authentic artwork through
me and then send the submission to Bem? Righl?{Alex Romer]
right

Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT 06902

(phone) +1.203.406.3602

(fax) 203.359.5115

—— Original Message~-—

From: Satoko Murai [ngilto:smural@smj.jp]
Sent: Thursday, June 02, 2005 4:30 AM
To: D'Angelo, Fara

BLLL PESB O% poe

M¥3 €5:°8L gooe So/Bo

D 0300
Case 3:08-cv-01548-JCH Document 37-2 Filed 04/19/10 Page 54 of 98

 

From: D'Angelo, Fara

_ Sent: Friday, July 22, 2005 11:59 AM
om Romer, Alex
wubject: RE: Orton tats

:-) never stopped

Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT 96902

(phone) +1.203.406. 3602

(fax) 203.359.5115

wnree Original Message-----

From: Romer, Alex

Sent: Friday, July 22, 2@@5 11:58 AM
To: D'Angelo, Fara

Subject: RE: Orton tats

Ah. .thought you were being a naughty girl again :-)

ee Original Message-----
From: D'Angelo, Fara
Sent: Friday, July 22, 20@5 11:53 AM
To: Romer, Alex
ubject: RE: Orton tats

No.. that's not what I was saying.. read the emails again and see what I wrote. Meant to write
"Star" likes tattoos

Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT e69e2

(phone) +1.203.406.3602

(fax) 203.359.5115

----- Original Message-----

From: Romer, Alex

Sent: Friday, July 22, 2@@5 11:49 AM
To: D'Angelo, Fara

Subject: RE: Orton tats

First hand knowledge that (our) stars like Tattoos? I hope not.....
wo--- Original Message-----

From: D'Angelo, Fara

Sent: Friday, July 22, 2005 16:11 AM

To: Romer, Alex

‘ubject: RE: Orton tats

Of course... I really should get my 3rd soon.

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Case 3:08-cv-01548-JCH

Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

( zamford, CT 969902

' phone) +1.203.406. 3602

(fax) 203.359.5115

-aee- Original Message-----

From: Romer, Alex

Sent: Friday, July 22, 2005 9:19 AM
To: D'Angelo, Fara

Subject: RE: Orton tats

First hand knowledge?

~---- Original Message-----

From: D'Angelo, Fara

Sent: Friday, July 22, 2005 8:58 AM
To: Romer, Alex

Subject: RE: Orton tats

Stars like tattoos

Fara D‘Angelo
Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.
Stamford, CT 96902

yhone) +1.203.406. 3602

fax) 203.359.5115

n-ne H Original Message-----

From: Romer, Alex

Sent: Friday, July 22, 20@5 8:54 AM
To: D'Angelo, Fara

Subject: RE: Orton tats

Stop drooling over the tattoos :-)

----- Original Message-----

From: D'Angelo, Fara

Sent: Friday, July 22, 2005 8:51 AM
To: Romer, Alex

Subject: FW: Orton tats

See below... awe.. :-)

Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT 9692

(phone) +1.203.496. 3602

_ (fax) 203.359.5115

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D 00000851
Case 3:08-cv-01548-JCH D -
From: Sam Topley Finail to; Yantopleyanyebynoetccan 87-2 Filed 04/19/10 Page 56 of 98

Sent: Friday, July 22, 2005 4:52 AM
To: D'Angelo, Fara
_ Subject: RE: Orton tats

vany thanks for these Fara, you're a star.

Many thanks,

Sam Topley

Tel: 0845 33@ 3310

International: +44 1797 367788

Fax: 01797 367799

http: //www.ryebypost.com/

Rye By Post Ltd, Cinque Ports Road, Mountfield Road Industrial Estate, New Romney, Kent, UK, TN28
8XU

wacee Original Message-----

From: D'Angelo, Fara [mailto:Fara.DAngelo@wwecorp.com]
Sent: 15 July 2005 22:04

To: Sam Topley

Subject: FW: Orton tats

Hi Sam

Sorry for the delay. Attached are images of Orton's tattoos.

“hanks

Fara D‘Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT 86902

(phone) +1. 203.406.3602

(fax) 203.359.5115

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Case 3:08-cv-01548-JCH Document 37-2 Filed 04/19/10 Page 57 of 98
Message Page J of 3

Romer, Alex

 

From: D'Angelo, Fara
Sent: Thursday, September 01, 2005 3:14 PM
To: Romer, Alex

Subject: FW: picst

Look at the lovely girls of wwe

Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 Bast Main St,

Stamford, CT 06902

(phone) + 1.203.406.3602

(fax) 203.359.5176

——Original Message-——

From: Vogestad, Jennifer

Sent Wednesday, August 31, 2005 4:12 PM
To: D'Angelo, Fara

Subject: pics!

 

5/8/2006

60/120 A P21 TEUGTLEUISLUT 3ha GlLEL pEB8B Of FH X¥4 SS:8B1L Sooz S0/B0

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Message

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- Jenasfer Vogestad
Licensing Manager
WWE, Inc.
203.353.2866

5/8/2006

bEo/8zO BR PI] Yeuotzeusazuy ang SULL peas oZ ses xys secgt 9002 50/80

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Case 3:08-cv-01548-JCH Document 37-2

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From: Romer, Alex

Sent: Tuesday, December 20, 2005 5:07 PM
_ To: D'Angelo, Fara

Subject: Re:

Sent from my BlackBerry Wireless Handheld

woo Original Message-----
From: D'Angelo, Fara

To: Romer, Alex

Sent: Tue Dec 2@ 17:26:29 2005
Subject: RE:

Bc I am precious 7)

Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT 6902

(phone) +1.203.406.3602

(fax) 203.359.5176

----- Original Message-----

“rom: Romer, Alex

sent: Tuesday, December 20, 2005 5:86 PM
To: D'Angelo, Fara

Subject: Re:

Whatever...just don't get hurt....

Sent from my BlackBerry Wireless Handheld

woeee Original Message-----
From: D'Angelo, Fara

To: Romer, Alex

Sent: Tue Dec 20 17:04:58 2005
Subject: RE:

Never is

Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT 96902

(phone) +1.203.4@6. 3602

(fax) 203.359.5176

saeee Original Message-----

som: Romer, Alex
vent: Tuesday, December 2@, 20@5 5:04 PM
To: D'Angelo, Fara

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D 00000660
Case 3:08-cv-01548-JCH Document 37-2

Subject: Re:

I take it its not exactly a girly trip then!!
wereee Original Message------
-“eom: Fara D'angelo
. oO: Romer, Alex
Sent: Dec 2@, 2005 9:55 PM
Subject: RE:

Come on.. u know better

Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT 96902

(phone) +1.203.406.3602

(fax) 203.359.5176

~---- Original Message-----

From: Romer, Alex

Sent: Tuesday, December 20, 2005 4:54 PM
To: D'Angelo, Fara

Subject: Re:

Sent from my BlackBerry Wireless Handheld

weene Original Message-----
rom: D'Angelo, Fara

To: Romer, Alex

Sent: Tue Dec 2@ 16:52:18 2005

Subject: RE:

~)

Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT @6902

(phone) +1.203.406.3602

(fax) 203.359.5176

weece Original Message-----

From: Romer, Alex

Sent: Tuesday, December 20, 2005 4:52 PM
To: D'Angelo, Fara

Subject: Re:

I thought it was girls only?

Sent from my BlackBerry Wireless Handheld

toeoe Original Message-----
rom: D'Angelo, Fara

To: Romer, Alex

Sent: Tue Dec 20 16:51:16 2085

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D 00000661
: Case 3:08-cv-01548-JCH Document 37-2 Filed 04/19/10 Page 61 of 98
Subject: RE:

With my good looks :-)

- Fara D'Angelo

- Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT #6902

(phone) +1.203.406. 3602

(fax) 203.359.5176

weree Original Message-----

From: Romer, Alex

Sent: Tuesday, December 20, 2005 4:49 PM
To: D'Angelo, Fara

Subject: Re:

And how r u paying to go to cali?

Sent from my BlackBerry Wireless Handheld

cte3- Original Message-----
From: D‘Angelo, Fara

To: Romer, Alex

Sent: Tue Dec 20 16:39:26 20@5
Subject: RE:

Only 36 dollars in my checking...

‘ara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT @69e2

(phone) +1.203.406.36e2

(fax) 203.359.5176

saeee Original Message-----

From: Romer, Alex

Sent: Tuesday, December 20, 2005 4:31 PM
To: D'Angelo, Fara

Subject: Re:

Don't tell me you have run out of food favors or are you on iou's? They should have left monday so
with you tomorow/thurs....

Sent from my BlackBerry Wireless Handheld

wocee Original Message-----
From: D'Angelo, Fara

To: Romer, Alex

Sent: Tue Dec 2@ 15:59:14 2005
Subject:

‘Yo u know when the psp games are going to be coming to me? Santa????

CONFIDENTIAL D 00000662
Case 3:08-cv-01548-JCH Document 37-2 Filed 04/19/10 Page 62 of 98
Fara D'Angelo

Global Licensing Coordinator
~ wld Wrestling Entertainment

1241 East Main St.
Stamford, CT 86902

(phone) .+1.203.406. 3602

(fax) 203.359.5176

Sent from my BlackBerry Wireless Handheld

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From: Romer, Alex
* Sent: Wednesday, December 21, 2005 10:09 AM
‘Oo: D'Angelo, Fara
Subject: Re: Curious
Ok - :-)

Sent from my BlackBerry Wireless Handheld

wee~e Original Message-----
From: D'Angelo, Fara

To: Romer, Alex

Sent: Wed Dec 21 09:54:21 2005
Subject: RE: Curious

Don’t worry about it.

Fara D‘ Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT 66902

(phone) +1.203.406. 3602

(fax) 203.359.5176

weere Original Message-----
som: Romer, Alex
went: Wednesday, December 21, 20@5 9:53 AM
To: D'Angelo, Fara
Subject: Re: Curious

Right - how do the great looks pay for the trip then????

Sent from my BlackBerry Wireless Handheld

-e4e- Original Message-----
From: D'Angelo, Fara

To: Romer, Alex

Sent: Wed Dec 21 09:51:17 2005
Subject: RE: Curious

It is girls but that doesn’t mean I wont meet anyone

Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT #6902

(phone) +1.203.406. 3602

(fax) 203.359.5176

otoeee Original Message-----

. om: Romer, Alex

sent: Tuesday, December 2@, 20@5 5:16 PM
To: D'Angelo, Fara

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D 00000706
Case 3:08-cv-01548-JCH Document 37-2 Filed 04/19/10 Page 64 of 98
Subject: Curious

Why did you tell me it was girls only then?

,. ent from my BlackBerry Wireless Handheld

CONFIDENTIAL D 00000707
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From: D'Angelo, Fara

Sent: Thursday, February 16, 2006 2:04 PM
10: Romer, Alex

Subject: RE:

Ah.. that's good. How are those cookies? Care to share some and make a special delivery to my
office w/ some treats?

Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT 96902

(phone) +1.203.406.3602

(fax) 203.359.5176

~---- Original Message-----

From: Romer, Alex

Sent: Thursday, February 16, 2006 2:01 PM
To: D'Angelo, Fara

Subject: Re:

We wrote individual parts over the past week or so and now we are “editing” it all. Its not too bad
- we have not sat down together like this for the 3 years I have been here and we are getting on
for a change and having a laugh which is a bit of a bonus. U ok? Need lol to keep me going. It will
be a long day!!!

ent from my BlackBerry Wireless Handheld

~---- Original Message-----
From: D'Angelo, Fara

To: Romer, Alex

Sent: Thu Feb 16 13:50:10 20e@6
Subject: RE:

Wow it was getting hot in there. I feel bad for u. are u guys actually writing the presentation all
together? How come u are not each doing ur part and then piecing it together.

Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT 96902

(phone) +1.203.406.3602

(fax) 203.359.5176

----- Original Message-----

From: Romer, Alex

Sent: Thursday, February 16, 2@@6 10:53 AM
To: D'Angelo, Fara

Subject:

_Tf u have any gossip or anything to make me smile or give me lol please share as this is mind
dmbing.... :-)

Sent from my BlackBerry Wireless Handheld

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Case 3:08-cv-01548-JCH Document 37-2 Filed 04/19/10 Page 66 of 98

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Romer, Alex

 

 

 

 

From: D'Angelo, Fara

Sent: Thursday, February 18, 2006 8:49 PM
To: Romer, Alex

Subject: this will humor u

Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT 06902

(phone) +1.203.406.3602

(fax) 203.359.5176

 

 

 

 

Subject:

WOMAN'S PERFECT BREAKFAST

She's sitting at the table with her gourmet coffee.
Her 30n is on the cover of the Wheaties box
Her daughter is on the cover of Business Week.
Her boyfriend Is on the cover of Playgirl.

And her husband is on the back of the milk carton,

WOMEN'S REVENGE .
“Cash, check or charge?" { asked, after folding items the woman wished lo purchase.
As she fumbled for her waliet t noticed a remote control for a television set in her purse.
“So, do you always carry your TV remote?” (asked.
“No,” she replied, “but m y husband refused to came shopping with me,
and / figured this was the mast evil thing I could do to him legally."

UNDERSTANDING WOMEN

(A MAN'S PERSPECTIVE)
? know I'm not going to understand women.

ll never understand how you can take boiling hot wax,
pour it onto your upper thigh, rip the hair out by the root,

and still be afraid of a spider.

MARRIAGE SEMINAR

5/8/2006

ps0/ce0 RF PL] TRUOTLeULaLUT AHK BLIL $688 02 b+ XV¥4 SG:8L S00z So/80

der i D 0322
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While attending a Marriage Seminar dealing with communication,
Tom and his wife Grace listened to the insinrctor,
“it is essential that husbands and wives know each other's likes and dislikes,”
He addressed the man,
“Can you name your wife's favorite ower?”

Tom leaned over, touched his wife's arm gently and whispered, "It's Pillsbury, isn't i¢7

CIGARETTES AND TAMPONS

A man walks into a Dharmacy and wanders -up and down the aisles,
The sales girl notices him and asks him if she can help him,
He answers that he js looking for a box of tampons for his wife.
She directs him down the correct aisfe
A few minutes later. he deposits a huge bag of cotton

balls and a ball of string on the counter,
She says, confused, “Sir, / thought you were looking for some fampons for your wife?
He answers, "You See, it’s like this,
yesterday, | sent my wife to the store to get me a carton of cigarettes,
and she carne back with a tin of tobacco and some rolling
“000-060-000 much cheaper.
to rofl my own, so does she.

the one on the milic cartont)

So, { figure if I have
figure this guy is

WIFE VS. HUSBAND
A couple drove down a county road for several
An earlier discussion had led to an argument and
nesther of them wanted to concede their position.
As they passed a barn yard of mules.

, Fouts, and pigs,
the husband asked Sarcastically, "Relallves of yours?”
“Yep,” the wife replied, "in-laws."

miles, not saying a word.

WORDS

A husband read an article to his wife about how m.

any words women use a cay...
30,000 to a man’s 15,000.

The wite replied, ~The reason has to be because we flave to repeat everything to men...
The husband then turned fo his wife and asked, "What?~

CREATION

A man said to his wife one day, “I don't know how you can be
80 Stupid and so begutjful all at the same time.
“The wife responded, “Aliow me to explain,
God made ma beautiful so You would be attracted to me;
God made me Stupid so | would be attracted to you!

WHO DOES WHAT

A man and his wife were having an argument about who
ahrould brew the coffee each moming.

The wite said, *You Should do it, because you get up first,

and then we don't have fo wait as long to get our coffee.”

5/8/2006

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The husband said, “You are in charge of cooking around here and
you should do it, because that is your job, and } can just wait for my coffee.”
Wife replies, "No, you should do it, and basides, it is in the Bible
that the man should do the coffee.”
Husband replies, "I can't believe that, show me.”

__S9 she fetchéd'the Bible, and opened ihe New Testament

¥

Bb show d'him atthe top of several pages, that it indeed SBYS.. eee "HEBREWS"
The Silent Treatment

A man and his wife were having some problems at home and were giving each
other the silent treatment. Sudden} , the man realized that the next da YY,
he would need his wife to wake him at 5-00 AM for an early moming business flight.
Not wanting to be the first to break the silence fand LOSE}, he wrote on a piece of paper,
“Please wake me at 5:00 AM." He left it where he knew she would find it,
the next moming, the man woke up, only to discover it was 3;00 AM
and he had missed his tight. Furjous, he was about to go and
see why his wife hadn't wakened him, when he noticed a piece of paper by

the bed. The paper said, “It is 5:00 AM. Wake ap.”
Men are not equipped for these kinds of contests,

God may have created man before woman,
but there is always a rough draft before the masterpiece,

SEND THIS TO SMART WOMEN WHO NEED A LAUGH AND TO MEN YOU THINK
CAN HANDLETT!

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information. Any unauthorized review, use, disclosure or distribution is prohibited. If you are not the intended
recipient, please contact the sender by reply email and dastroy all copies of the original message, To reply to
our email administrator directly, send an amail to EmailtAdmin@toysrus.com.

Toys "R" Us, Inc.

5/8/2006

peo/pec PI] Teuelieusajyur aha GLLL ESB OZ be+ KXV4 SS:B1 B002 50/80

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Romer, Alex

From: Romer, Alex

Sent: Tuesday, February 21, 2006 3:12 PM
To: D'Angelo, Fara ,

Subject: RE: ff Women controlled the wortdl!

Just read these fantastic. Big smile @

From: D'Angelo, Fara
Sent: Wednesday, February 15, 2006 8:09 PM
Ta: Romer, Alex

Subject: FW: If Women controlled the world!!

Fara D'Angelo

Global Licensing Coordinator

World Wrestling Entertainment

1241 East Main St.

Stamford, CT 06902

(phone) +1.203.406.3602

(fax) 203.359.5176

From Silverman, Lee - MTV [mallto:Lee.Silverman@mtvstaff.com]
Sent: Wednesday, February 15, 2006 9:02 AM

‘To: Glenn Edelman; Allyson Edelman; D'Angelo, Fara: Harris, Jennifer; Maria Mendez
Subject: FW: If Women controjled the world!

 

TF WOMEN CONTROLLED THE
WORLD...
5/8/2006
bso/ero PI7 Teuot eusaqurl aha BLLL pEBB OZ bH+ XY4 ES:BL 9002 50/80

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iF f ;
. «f
5/8/2006
peo/ploy : : PE] TeuotpeusazUT FAM SLLt pESB Of bH+ XWd vS:8t SOO" GO/20

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5/8/2006

bEO/SLOW PLT Teuot}eusajuy Fyne vill pE88 O02 bb+ XV¥4 pS:8L S002 So/B0

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5/8/2006

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5/8/2006

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5/8/2006
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If Women controlled medicine

   

The Manogram

   

 

 

MAKE ANOTHER
WOMAN'S DAY,
AND SHARE THE
SMILES

 

 

Relax. Yahoo! Mail virus scanning helps detect nasty viruses!

5/8/2006

peo/si0oy PY] TeuotpeusazpuT 3Ms Slit pESB OZ br+ XV¥4 PS:8L 9002 GO/B0

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From: D'Angelo, Fara
‘ent: Monday, March 20, 2006 10:07 AM
Xx Romer, Alex
Subject: RE: job description
Were they good or bad?
Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT 06902

(phone) +1.203.406.3602

(fax) 203.359.5176 ~

From: Romer, Alex

Sent: Monday, March 20, 2006 8:10AM
To: D'Angelo, Fara \
Subject: RE: job description

 

Tinks you know me better than anyone. What do you think my first thoughts were?

Call me

 

From: D'Angelo, Fara

wnt: Friday, March 17, 2006 11:16 PM
.o: Romer, Alex
Subject: job description

Hi Alex
| hope you are enjoying your vacation.

| know we discussed on a few occasions my existing and future role at WWE. In regards to this topic, | wanted to share the below
job description of a Manager of International Licensing position that | found online. As you can see from the description, | am
currently doing the role of a manager and | am being compensated as a Coordinator. | thought this information would be helpful to
you to give you a better understanding of how other companies, comparable to WWE, compensate and title someone in my role.
The position described below is paying a salary range of $65K-$75K.

Please let me know you thoughts.

Fara D'Angelo

Global Licensing Coordinator
World Wrestling Entertainment
1241 East Main St.

Stamford, CT 06902

(phone) +1.203.406.3602

(fax) 203.359.5176

 

Manager of International Licensing

———==_

company: XXXXXX: New York City, NY
Status: Full Time, Employee Job Category: Advertising/Marketing/Public Relations
Relevant Work Experience: 2+ to 5 Years Career Level: Experienced (Non-Manager)

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Education Level: Bachelor's Degree

DESCRIPTION AND DUTIES:

: Primary support person to Director-International Licensing, for building, developing

‘and maintaining merchandise, promotion, and publishing programs involving XXXX’s
licensed comic and non-comic characters in: Asia (excluding Japan), Australia, New Zealand,
and South Africa.

Maintain daily contact with agents and meet with agents, licensees and key regional
business partners. Research and display solid understanding of local markets. Support

agents by providing property information and updates as well as promotional and
presentational materials.

. Manage Australia and South Africa under the guidance of the Director — International
Licensing. Oversee marketing initiatives, budget, infringements and territory development.
Provide weekly territory updates.

. Responsible for day-to-day support of Designated Territory, which includes over 200
accounts and three agents.

Coordinate daily liaison between Director-International Licensing, talent agents,
attorneys, domestic managers and property managers in support of contract proposal
approval and drafting. Provide information on DT to management via monthly and quarterly
reports and trip summaries in a timely manner.

: Work closely with agents and Director-International Licensing, to prepare yearly
licensing, retail co-op, and trade budgets. Ensure that all contracts in DT are current and
Mlow-up with agents, Cincinnati accounting and Director-International-Licensing.

Monitor licensing royalties in DT on a monthly basis, and plan legal strategies with B&H
and internal legal staff.

QUALIFICATIONS AND SKILLS:

: 4-6 years licensing experience preferred. Experience in Asia/International business
helpful.

College degree preferred.
. Excellent interpersonal and written and verbal communication skills
: Must be organized and able to handle multiple tasks simultaneously.
Independent worker, who requires minimal daily supervision.
Ability to interact with a wide and varied range of clients and agents.

Please submit resumes to xxxxxx

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From: D'Angelo, Fara

i. wnt: Tuesday, April 25, 2006 4:38 AM
<0: Romer, Alex
Subject: FW: Equations

 

From: Giorno, Joe

Sent: Tue 4/18/2006 3:56 PM
To: Pelz, Randi; Tarzia, Gale; Kramer, Katherine; D'Angelo, Fara; Swalagin, Shannon

Subject: FW: Equations

ROMANCE MATHEMATICS

Smart man + smart woman = romance
Smart man + dumb woman = affair
Dumb man + smart woman = marriage
Dumb man + dumb woman = pregnancy

 

OFFICE ARITHMETIC

Smart boss + smart employee = profit
Smart boss + dumb employee = production
Dumb boss + smart employee = promotion
Dumb boss + dumb employee = overtime

 

SHOPPING MATH

A man will pay $20 for a $10 item he needs.
A woman will pay $10 for a $20 item that she doesn't need.

 

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GENERAL EQUATIONS & STATISTICS

A woman worries about the future until she gets a husband.
A man never worries about the future until he gets a wife.
A successful man is one who makes more money than his wife

can spend.
A successful woman is one who can find such a man.

 

HAPPINESS

To be happy with a man, you must understand him a lot and

love him a little.
To be happy with a woman, you must love her a lot and not try
to understand her at all.

 

~ONGEVITY

Married men live longer than single men do, but married men
are a lot more willing to die.

 

PROPENSITY TO CHANGE

A woman marries a man expecting he will change, but he

doesn't.
A man marries a woman expecting that she won't change, and

she does.

 

DISCUSSION TECHNIQUE

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A woman has the last word in any argument.
~ \nything a man says after that is the beginning of a new
argument.

 

HOW TO STOP PEOPLE FROM BUGGING YOU ABOUT
GETTING MARRIED

Old aunts used to come up to me at weddings, poking me in
the ribs and cackling, telling me, "You're next." They stopped

after I started doing the same thing to them at funerals.
SEND THIS TO A SMART WOMAN WHO NEEDS A LAUGH AND TO THE SMART
GUYS YOU KNOW CAN HANDLE IT

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TAB I
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From: Romer, Alex
‘ent: Monday, January 30, 2006 10:17 AM
10: Fisher, Danielle
Subject: John Laurinaitis
Sensitivity: Confidential
Hi Danielle

Further to our meeting I had a phone conversation with John Laurinaitis Friday

First off he had no concerns that anything untoward happened on the tour. If it had he would have known about it in an instant
(talent cant help bragging).

Whilst admitting he doesn’t know her very well he was very complementary about Fara, that she was obviously very bright and
that he could see that the talent were comfortable speaking to her in a work capacity which he saw as very important and a big
positive.

Acknowledging that she is an attractive young woman who may attract the unwanted attention of one or two of the male talent,
the email to Donna was simply a reminder that we should ensure to emphasize to our staff that professional boundaries should
not be crossed as it is the executive that gets hurt, not the talent.

His main concern was that the perceptions of others about Fara’s professional ability as a manager should not be tainted by
rumors regarding out of work socializing either whilst on tour or working with talent elsewhere. “Chinese whispers” happen too
often in this business.

” opened the conversation by explaining I was looking to promote Fare this year — which he thought was a great idea. I think that
ays it all,

If you wish, please give me a call.

It looks like I am in Stamford again w/c 13% February and I will drop by to discuss how we can progress this project further.
Many thanks

Alex

Alex Romer

Senior Director, international Consumer Products

World Wrestling Entertainment

26-28 Hammersmith Grove

London W6 7BA

+44 (0)20 8834 1424 (direct line)
+44 (0)7789 433 094 (cell phone)

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TAB J
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April 20, 2006

 

Fara D’Angelo|
99 North Streel
Elmwood Park, NJ 07407

1
Dear Fara: |

lam pleased to confirm the verbal offer of employment that was given to you by Beverly Welch, Senior
Product Manever of Marketing, Thompson’s Water Seal. Our offer is as follows:

Title: | Assistant Product Manager
Grade: 24.¢

Bi-Weekly Salary: $2692.31

Proposed Start Date: May 25, 2006

In addition, yor will be eligible for three (3) personal holidays and seven (7) vacation days for the
remainder of 2006 (10 days annually prorated for your start date). Subsequent to 2006, your vacation
entitlement will'be according to Sherwin-Williams’ vacation policy. Per policy, vacation days cannot be
carried over into the next year.

Our offer, as well as your acceptance, is contingent upon your passing a drug screen, completion of a
physical capabilities sheet and satisfactory completion of a security investigation.

This offer of employment is also contingent upon you accepting the terms and conditions of the
Group/Division, Problem Resolution Procedures and the Corporate Employment Dispute Mediation and
Arbitration Policy, policy summary attached. For a complete copy of the Group/Division Problem
Resolution Procedures and the Corporate Employment Dispute Mediation and Arbitration Policy,
including the “Appeal to Mediation” form, the Mediation Rules, the “Appeal to Arbitration" form, and the
Rules for Arbitration, you may request copies fram Human Resources.

|
In addition, the new federal immigration law requires us to confirm the identity and authorization to work in
the United States of all employees. Accordingly, we ask that prior to reporting to work, or on the first day
that you report to work, you bring with you two original documents, one containing a photograph and
confirming yout authorization to work in the United States. Examples of such documents include a United
States passport, an alien registration card, if it includes a photograph: or a combination of documents
such as @ United States birth certificate or social security card, together with a driver's license.

We are extremely pleased to extend this offer of employment and are confident that you will make a fine
addition to Sherwin-Williams.

{ Sincerely,
|

Michael Kozlowski
Director of Marketing

| accept the terms and conditions of the Group/Division Problem Resolution Procedures and the

Corporate Emo oyment | py Mediation and Arbitration “diay attachment)
aes olf 7 4, 21/0 b

 

Employee toot Ligue Date’Accepted
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Attachment
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PECELEPZTC et:£2 99072 /rO/82

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TAB K
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CHRO Charge Number: 0720125
Fara D’Angelo v. World Wrestling Entertainment, Inc.

AFFIDAVIT OF MICHAEL ARCHER

STATE OF CONNECTICUT )
)ss: Stamford, CT

COUNTY OF FAIRFIELD )

The undersigned, having been duly sworn, hereby deposes and says:

1. Iam Senior Director of Quality Assurance of the Respondent, WWE. I make this
statement based on my personal knowledge of the facts hereinafter set forth, and in
support of the Respondent’s Statement of Position and Admit/Deny Statement.

2. Lunderstand that in her CHRO Complaint Ms. D’ Angelo alleges that in 2005, during a
work-related discussion with me, she had cried and told me of Romer’s sexual
harassment. She claims that I expressed concern and compassion for her situation, but
did not offer to report Romer’s conduct nor encourage her to do so. She further alleges
that instead, I asked her what she was doing about it, and encouraged her to find a new
job.

3. Ms. D’Angelo’s characterization of this conversation is completely inaccurate. The
conversation Ms. D’Angelo references was a tense, work-related conversation I had with
her about her job performance. During this discussion, Ms. D’Angelo did start crying
and complained about Romer’s poor managerial skills, specifically stating that Romer
was frustrating, disorganized, and could often not be tracked down. Ms. D’ Angelo never

made any statement, suggestion or implication that Romer was sexually harassing her. In

fact, I believed Romer displayed a poor management style, so | naturally thought Ms.

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D’Angelo’s reaction in our conversation was related to this perception. I did not state to
Ms. D’ Angelo that she should find another job.

_ Lunderstand that Ms. D’Angelo’s CHRO Complaint allegations also reference Bernadette
Hawks, Senior Coordinator, specifically, that Ms. Hawks witnessed Romer touch her
waist during a WWE business function. Ms. Hawks did disclose to me that she had
witnessed Romer putting his hands on Ms. D’Angelo’s hips to get around her at a bar
during a licensing show. Ms. Hawks raised the issue with me because she deemed the
touching troublesome.

_ | followed up directly with Ms. D’ Angelo as to Ms. Hawks’ observations and concerns. I
initiated the conversation because I wanted to help. Ms. D’ Angelo assured me that there
was no problem to report. I emphasized to Ms. D’ Angelo that the matter would be
reported to Human Resources, or to Romer’s supervisor, Donna Goldsmith, if she had
any concern whatsoever. Ms. D’ Angelo unequivocally assured me everything was fine,

and there was no situation to report.

MICHAEL ARCHER — \

On this Ast day of December, 2006, before me, personally appeared MICHAEL
ARCHER, who affirmed under oath the truth of the foregoing Affidavit to the best of his
knowledge, information, and/or belief.

Subscribed and Sworn to
before me thisq] day of
December; 20 Ou .

tnandguut MM. Youanke

Notary Piblic

MARGARET MM. YTUARTE

NOTARY PUBLIC _2-

MY-COMMISSION EXPIRES JULY 21, 3007
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TAB L
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CHRO Charge Number: 0720125
Fara D’ Angelo v. World Wrestling Entertainment, Inc.

AFFIDAVIT OF LISA RICHARDS

STATE OF CONNECTICUT )
)ss: Stamford, CT
COUNTY OF FAIRFIELD )

The undersigned, having been duly sworn, hereby deposes and says:

1. Iam Director of Marketing of the Respondent, WWE. I make this statement based on
my personal knowledge of the facts hereinafter set forth and in support of the
Respondent’s Statement of Position and Admit/Deny Statement.

2. Iam not, and never have been, Fara D’Angelo’s supervisor. Additionally, I have never
worked in Ms. D’Angelo’s department.

3. I understand that in Ms. D’Angelo’s CHRO Complaint, she claims she had an ongoing
dialogue with me about Alex Romer’s harassment, starting in late 2005. She further
alleges that I talked with her about how “horrible” Human Resources was, and I told Ms.
D’ Angelo she should not go to Human Resources to complain, but rather, to simply find
a new job. These allegations are completely inaccurate.

4. Ms. D’Angelo never mentioned any conduct by Romer to me that resembled sexual
harassment during any discussion I had with her. Rather, the only statements made to me
by Ms. D’Angelo about Romer were that she did not like working for him.

5. Ms. D’Angelo also expressed to me that she was interested in any openings in the
Affiliate sales and marketing department, because she was looking for a better
opportunity. She was also looking in the NY metro area to both shorten her commute,

and for a better work opportunity.

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6. Irecall that on the day Ms. D’Angelo resigned, she told me she was resigning because
she had a new job with a better opportunity and shorter commute. At that time, Ms.
D’Angelo told me for the first time that she considered Alex Romer to have behaved
inappropriately, and asked me if she should tell Human Resources. I advised Ms.

D’ Angelo to indeed notify Human Resources, and that if Ms. D’ Angelo was leaving
solely because of Romer, that Human Resources might help her stay. At no time, even
during my communication with Ms. D’Angelo on the day she resigned, did I know the

specifics of the behavior Ms. D’Angelo was claiming to have been “inappropriate.

LISA RICHARDS

On this fthday of December, 2006, before me, personally appeared LISA
RICHARDS, who affirmed under oath the truth of the foregoing Affidavit to the best of
her knowledge, information, and/or belief.

Subscribed and Sworn to
before me this Roth day of
cember ,.260U-
)
Irangatm Uuarte

Notary@ublic

MARGARET M. YTUARTE
NOTARY PUBLIC
MY COMMISSION EXPIRES JULY 31, 2007

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TAB M
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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 

 

 

X

FARA D’ANGELO, :
Case No. 3:08-CV-1548(JCH)
Plaintiff,
Vv.
WORLD WRESTLING ENTERTAINMENT,
INC.,
Defendant.

Xx

AFFIDAVIT OF DANIELLE FISHER IN SUPPORT OF DEFENDANT’S MOTION FOR
SUMMARY JUDGMENT
STATE OF CONNECTICUT )
) ss: Stamford, CT

COUNTY OF FAIRFIELD )

The undersigned, having been duly sworn, hereby deposes and says:

1. I am Senior Vice President, Human Resources of the Defendant, World
Wrestling Entertainment, Inc. (“WWE”). I make this statement based upon my personal
knowledge of the facts and circumstances hereinafter set forth, and in support of Defendant’s
Motion for Summary Judgment.

2. On May 5, 2006, Fara D’Angelo notified WWE by e-mail that she was
resigning effective May 16, 2006. On that same day, Donna Goldsmith, the then Executive Vice
President, Consumer Products, and Alex Romer’s direct superior, stated to me that she had
information suggesting that Ms. D’Angelo’s resignation had something to do with Mr. Romer.
Based on this information, I asked to meet with Ms. D’ Angelo that same day.

3. During that May 5"" meeting, Ms. D’Angelo presented for the first time
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some e-mail communications she had exchanged with Mr. Romer which she deemed sexually
harassing. She further described some of Mr. Romer’s alleged behavior that she characterized as
unwelcome,

4, I then initiated an investigation pursuant to WWE’s standard policy. The
investigation culminated with the termination of Mr. Romer’s employment on May 9, 2006.

5, 1 met with Ms. D’ Angelo before her last day of employment and advised
her of Mr. Romer’s termination, and offered her a promotion with a raise in pay. Ms. D’ Angelo
emphatically stated she was not interested in the WWE promotion or higher pay offer because
she had found a better opportunity at Sherwin Williams, making substantially more money. Ms.
D’Angelo further stated that her new job was a better career move for her, and was closer to
home.

6, With respect to an allegation by Ms. D’Angelo that she was deterred
from complaining to the Human Resources department prior to her resignation, WWE
Human Resource department records reveal that Ms. Yamuder never complained to Human
Resources about any matter during Ms. D’Angelo’s employment. She may have commenced
some unofficial conversations in this regard, but no earlier than in mid-September of 2006.
On or about November 30, 2006, more than six months after Ms. D’Angelo’s last day of
employment with WWE, Ms. Yamuder approached me expressing a concern about her
personal interactions with her supervisor. Ms, Yamuder’s concerns were not in any way

connected to allegations of sexual harassment, nor did they involve Mr. Romer.

 

On this \A day of April, 2010, before me, personally appeared Danielle Fisher, who
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affirmed under oath the truth of the foregoing to the best of her knowledge, information
recollection, and/or belief.

Subscribed and Sworn to me this
Le day of April, 2010

Notary Public

My Commission Expires: 3 (2, ] ef DONNA L. PIETRZAK
ARY PUBLIC

20324\4\2359957.1 My Commission Expires: 3/31/20 YH
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TAB N
Case 3:08-cv-01548-JCH Document 37-2 Filed 04/19/10 Page 96 of 98

Name: (AlA Dirge fe
Hire Date: ds /. og

 

Exit Interview

Manager: Ahr Kore oo

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1) Why did you originally come to work for WWE?
DZ ow4s a Sin ot VAC and always wanted ro
Werk Lr Vince he Mahon
- 2) What expectations did you have for the position you were hired for?
That ZL wea tf VERSA tl for abhes aaa Liten Stag
Gad fhe Censmner pl vokkcts atl OUSMESS
3) Were you able to achieve these expectations? Ifno, what were the barriers?
Yes
4) Do you think the appropriate opportunities for advancement were available?
Please explain.
4
5) Did you receive enough information regarding what was occurring in company
and in your department specifically?
yes
7
F:\HR_Share\Forms\Exit Interview (WWE) 7125102

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6) Do you think you were paid fairly for the work you performed?
LYE
7) What is your opinion of the supervision you received?
LO
7
8) How is the morale in your department?
Gleat
9) What did you like most about working for WWE?
Weck the €veals , Scena the FAAS
Lvehbht vhe eaeta “ Lett ting & bi? Krk.
BISMrss Lethon the ans te 4
10) What was your least favorite experience working for WWE?
oo
11) What is your opinion of the working conditions?
Ca
a
12) | What did you think about the company’s benefit program?
bLO at
13) | What is your opinion about the training you received?
Ca6eE
F:\AR_Share\Forms\Exit Interview (WWE) 7125102

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14) | Why did you decide to leave the company?

Be thet @pfeol Yun tke Aeese fol me Js
Atv aale £4 a Cakes it

~ 15) Do you have any suggestions for improvement?

 

 

 

 

 

 

 

 

 

 

 

16) What attracted you to your new company/position?

—pppot tiaihy L 1200 focAtion

 

 

 

 

(Print Name)

Sin fhe

(Employee Signature)

  

 

(HR Representative Signature)

7/25/02

FAHR_Share\Forms\Exit Interview (WWE)

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